Case 1-17-46613-nhl   Doc 34-4   Filed 02/28/18   Entered 02/28/18 16:52:02




            - ·EXHIBITD
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                      Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Dabri Trans Corp.
("Dabri"), a loan or a series of loans in an amount equal to One Million Five Hundred Sixty Five
Thousand Nine Hundred Forty Four Dollars ($1,565,944.00) with interest thereon from
December 31, 2015.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                DABRI TRANS CORP., Claimant


                                                                          ~
                                                                 { S' A1 ELERG
                                                                By:ES
                                                                                     Jlierry
                                                                Title:




                                                                Attorney for Claimant
                                                                Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl               Doc 34-4       Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------)(
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------)(
STATE OF NEW YORK                    )
                                     )
COUNTY OF             t.J..fs        )

         ESMA ELBERG, being duly sworn, deposes and says:

  1.     That I am the sole shareholder, officer and director of Dabri Trans Corp. (hereinafter

         referred to as "Dabri") and I reside in Brooklyn, New York.

  2.     The anne:xed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

         "decedent"), is just and true and the decedent's debt is currently due.

  3.     Anne:xed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Five Hundred Si:xty Five Thousand

         Nine Hundred Forty Four Dollars ($1,565,944.00).

  4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Four Hundred Ninety One

        Thousand Nine Hundred Seventy Seven Dollars ($1,491,977.00). This return was

         electronically signed by the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl         Doc 34-4      Filed 02/28/18   Entered 02/28/18 16:52:02




7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,565,944.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.




                                                            By: Esma Elberg




                   ROBERT W. PIKEN
                      No.XX-XXXXXXX     :Ji
            NOTARY PUBLIC, State of New York
               Qualified in New York County
          commission Expires March 30, 20




                                                  2
                Case 1-17-46613-nhl                       Doc 34-4           Filed 02/28/18                 Entered 02/28/18 16:52:02


Form 11205 (2015)         DABRI TRANS CORP                     XX-XXXXXXX                                                                                               Page 4
rschedule K         I Shareholders' Pro Rata Share Items (continued)                                                                                     Total amount
Other        17a Investment income.............................................•............................. ·                                17a                25.536.
In for-        b Investment expenses .........................................................................                                 17b
mation
               c Dividend distributions paid from accumulated earnings and profits ...............................                             17c
               d Other items and amounts
                                                                                                                                                                               !
                 (attach statement)                                                                                                                                            l


Recon- 18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ciliation From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                                                        7,670.
IScheduleL I Balance Sheets per Books                       Beginning of tax year                            End of tax year
                 Assets                                  (a)                      (b)                    (c)                                                    (d)
   1 Cash ......................................                                                         5.643.                                                   23 602.
   2 a Trade notes and accounts receivable ........
     b less allowance for bad debts ...............
   3 Inventories ................................
  4 U.S. government obligations................
  5 Tax·exempt securities (see instructions).....
                                                                                                                                               ..
  6 other current assets (attach stmt) .................                                                              :

  7 Loans to shareholders......................                                                1,276.806                                                     1. 302' 342.
  8 Mortgage and real estate loans .............
  9 Other investments (attach statement) ...............
 lOa Buildings and other depreciable assets ......                       48.000.                                                 48.000.
    b Less accumulated depreciation .............                        48,000.                                                 48.000.
 11 a Depletable assets..........................
    b Less accumulated depletion ................
 12 Land (net of any amortization) ..............
 13 a Intangible assets (amortizable only) .........
    b Less accumulated amortization .............
 14 Other assets (attach stmt) ..... S.e~. St.. 2.                                              240.000.                                                       240.000.
 15 Total assets ...............................                                              1.522.449.                                                    1. 565. 944.
        Liabilities and Shareholders' Equity                                                       ..
 16 Accounts payable ..........................                                                                   ..              ·'
                                                                               ..
17 Mortgages, notes, bonds payable in less than l year ....     .   ..
18 Other current liabilities (attach stmt) ...............                                                        ..
19 Loans from shareholders ...................
                                                                                                                                 •'
20 Mortgages, notes, bonds payable in 1 year or more .....                                         460. 000.
                                                                                              l,                                  :
                                                                                                                                                    ..      1. 498. 325.
21 Other liabilities (attach statement) .... S.ee.. S.t ..3.                                                                      ..
                                                                                                             1.   :
                                                                                                                                           !                          1.
22 Capital stock ..............................                                                                   ..                  ..
                                                                                                        10.000.           ',,'
                                                                                                                                                                10.000.
23 Additional paid-in capital ...................
24 Retained earnings .........................
                                                                                                    52,448.                                                     57,618.
25 Adjustments to shareholders' equity (att stmt) ........
26 Less cost of treasury stock .................
27 Total liabilities and shareholders' equity .....                                                522, 449.
                                                                                              l,                                                           1. 565. 944.
                                                                         SPSA0134l 08113115                                                              Form 11205 (2015)
                    Case 1-17-46613-nhl                       Doc 34-4         Filed 02/28/18            Entered 02/28/18 16:52:02

,;;m    11205 (2013)
  Schedule K
                           DABRI TRANS CORP                        XX-XXXXXXX
                     I Shareholders' Pro Rata Share Items (continued)                                                                                                                                     Total amount
                                                                                                                                                                                                                                      Page 4

  Other        17 a Investment income ............................................................... ~ ...........                                                                     17a                                20,182.
  In for-
  mation          b Investment expenses .........................................................................                                                                       17b
                  c Dividend distributions paid from accumulated earnings and profits ...............................                                                                   17c
                                                                                                                                                                                                 . .._          -      .   -~   ·..      .·.-:
                  d Other items and amounts
                    (attach statement)                                                                                                                                                                      -   ~




 Re con-       18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
 ciliation         From the result, subtract the sum of the amounts on lines 11 through 12d and lines 141. .......... 18               20,                                                                                            241.
 !Schedule L        IBalance Sheets per Books                      Beginning of tax year                             End of tax year
                         Assets                                 (a)                    (b)                     (c)                   (d)
                                                                                                                                                           .- -           --
   1   Cash ......................................                                                       147.                                                                                               ...                       206 .
   2 a Trade notes and accounts receivable ........
     b Less allowance for bad debts................




                                                                                                                 {~11~!~:
   3 Inventories .................................                             "             .,
   4 U.S. government obligations ................
   5 Tax-exempt securities (see instructions) .....                        "        ..
                                                                                   :,_. ~     ~




   6 Other current assets (attach stmt) ..................
   7 Loans to shareholders ......................                                                   981.589.                                                                                                        L 251. 771.
   8 Mortgage and real estate loans ..............                                                                                                                    ..      " ..
                                                                                                                      .. ·.::.,.
                                                                                                                      1..   >·. -•.
                                                                                                                            ~. ~                                  ·~ ;-~-· ~~!::_; .·
   9 Other investments (attach statement) ................
  10 a Buildings and other depreciable assets.......                    48.000.                                                                          48.000.
     b Less accumulated depreciation ..............                     48.000.                                                                          48.000.
  11 a Depletable assets ..........................
     b Less accumulated depletion .................
  12 Land (net of any amortization)...............
  13a Intangible assets (amortizable only)..........
     b Less accumulated amortization ..............
  14 Other assets (attach stmt~ .....S~.e ..St. 2..                                                 240.000.                                                                   ... ~·                                 240.000.
                                                                                                                                                                                                                1. 491. 977.
                                                                                                                                        •C



  15 Total assets ................................                                                1.221. 736.    ;:   ,,                             -
                                                                                                                                                                                                 ..
            Liabilities and Shareholders' Equity                                                                                                     '·~
                                                                                                                                                         ..   <




  16 Accounts payable...........................                                                                                        ..
                                                                                                                                                                          .-•.              '··

  17   Mortgages, notes, bonds payable in less than 1 year .....                                                                                         ..
                                                                                                                             ..
  18   Other current liabilities (attach stmt) ................
                                                                                                                                                                                                      '
                                                                                                                                                                               .
  19   Loans from shareholders ....................                                                                                                                            .. .
  20   Mortgages, notes, bonds payable in 1 year or more......                                    1. 210. 000.                                                                                                  1.460.000.
       Other liabilities (attach statement) .... Se~ . St.. 3..                          .   -              1.                                                                                     ..                                   1.
  21                                                                                                                  .     ,.                                                                                         10,000 .
  22   Capital stock ...............................                                                 10.000.
                                                                                                                                             ·-
  23   Additional paid·in capital. ...................                                                           '.
  24   Retained earnings ..........................                                                   1. 735.                      ..        ;                                     ..                                  21. 976.
                                                                                                                                                                     ..
                                                                                                                                                 ~




  25   Adjustments to shareholders' equity (att stmt) .........                                                                                                                         .    '

  26   Less cost of treasury stock ..................
                                                                                                                                         -.                                                                     1. 491. 977.
  27   Total liabilities and shareholders' equitv ......                                          1. 221. 736.
                                                                         SPSA0134L 06/27/13                                                                                                                Form 11205 (2013)
      Case 1-17-46613-nhl             Doc 34-4         Filed 02/28/18        Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Bracha Cab Corp.
("Bracha"), a loan or a series of loans in an amount equal to One Million Five Hundred Seventy
Two Thousand Sixty Five Dollars ($1,572,065.00) with interest thereon from December 31,
2015.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                BRACHA CAB CORP., Claimant
       Case 1-17-46613-nhl            Doc 34-4         Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURR.OGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                      Deceased.
-------------------------------------------------------------------------x
STATE OF NEW YORK                     )

COUNTY OF             t1s            ?
        ESMA ELBERG, being duly sworn, deposes and says:

  1.    That I am the sole shareholder, officer and director of Bracha Cab Corp. (hereinafter

        referred to as "Bracha Cab") and I reside in Brooklyn, New York.

 2.     The annexed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

        "decedent"), is just and true and the decedent's debt is currently due.

 3.     Annexed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million Five Hundred Seventy Two

        Thousand Sixty Five Dollars ($1,572,065.00).

 4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million Four Hundred Eighty Seven

        Thousand Thirty Seven Dollars ($1,487,037.00). This return was electronically signed by

        the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl          Doc 34-4      Filed 02/28/18    Entered 02/28/18 16:52:02




7.     No part of said claim has been paid and the full amount thereof in the sum of

       $1,572,065.00 is now actually due, together with interest thereon from December 31,

       2015 at the statutory rate.

8.     Claimant owes no security from the decedent or the decedent's Estate.


                                                                 ls.Me,~/
                                                                 BRACHA CAB CORP.
                                                                 By: Esma Elberg




          NOTARY ~z~~m-    mf   IKEN
                   No. 31:aa~a~aoof New York
            0uaflffed in N
       Commission ExpireseMw Yohrk County fl/
                            arc 30, 20 -/iL




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                Case 1-17-46613-nhl                           Doc 34-4                Filed 02/28/18           Entered 02/28/18 16:52:02


Form 11205 (2015)        BRACHA CAB CORP                       XX-XXXXXXX                                                                                                          Page 4
!Schedule K        I Shareholders' Pro Rata Share Items (continued)                                                                                                 Total amount
Other       17a Investment income................................................................... .........                                                17a           24,050.
In for-       b Investment expenses .......................................... ..............................                                                 17b
mation
              c Dividend distributions paid from accumulated earnings and profits ...............................                                             17c
              d Other items and amounts                                                                                                                                                   '

                (attach statement)
Recon-  18 Income/loss reconciliation. Combine the amounts on lines l through 10 in the far right column.
cillation  From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                                                             15,863.
!Schedule L IBalance Sheets per Books                        Beginning of tax year                            End of tax year
                 Assets                                   (a)                      (b)                    (c)                                                             (d)
  1 Cash ......................................                                                            9.868.                                                           37.506.
  2 a Trade notes and accounts receivable ........
    b Less allowance for bad debts ...............
  3 Inventories ................................
  4 U.S. government obligations ................                                                                                            ·,           ..
  5 Tax-exempt securities (see instructions).....
  6 Other current assets (attach stmt) .......... , ......
  7 Loans to shareholders......................                                                        1.202.509.                                                      1.226.559.
  8 Mortgage and real estate loans ............
 9 Other investments (attach statement) ...............
10a Buildings and other depreciable assets. i ....                                48.000.                                                   48,000.
   b Less accumulated depreciation .............                                  48.000.                                                   48,000.
11 a Depletable assets..........................
   b Less accumulated depletion ................
12 Land (net of any amortization) ..............                                                                     '.                          . ..
13a Intangible assets (amortizable only) .........
   b Less accumulated amortization .............
14 Other assets (attach stmt) ..... See. St.. 2.                                                         308.000.                                                        308.000.
15 Total assets ...............................                                                        L 520. 377.                                                     1.572.065.
       Liabilities and Shareholders' Equity
16 Accounts payable ..........................                 'I


17 Mortgages, notes, bonds payable in less than 1 year ....                                                                       ..
18 other current liabilities (attach stmt) ...............      ..   :   ·   ..            ..                             I
                                                                                                                                                              . .
                                                                                                                                                  '
19 Loans from shareholders ...........•.......                                                                                                    . .
20 Mortgages, notes, bonds payable in 1 year or more .....                                             L 460. 000.                                                     1,498.325 .
                                                                     :
21 Other liabilities (attach statement) .................            ;                                                                              ..
                                                                                          ·'                                                        ..
22 Capital stock ..............................                 ".                                         6.000.             '
                                                                                                                                       .,
                                                                                                                                                         •'
                                                                                                                                                                                6.000 .
23 Additional paid-in capital. ..................                                                                     .
24 Retained earnings .........................                                                            54,377.                                                          67.740.
25 Adjustments to shareholders' equity (att stmt) ........
26 Less cost of treasury stock .................
27 Total liabilities and shareholders' equitv .....                                                    1.520 377.                                                      1.572.065.
                                                                                  SPSA0134L 08/13/15                                                                Form 11205 (2015)
                             Case 1-17-46613-nhl                          Doc 34-4          Filed 02/28/18           Entered 02/28/18 16:52:02

     ,                               BRACHA CAB CORP                          ll-300072Ll-                                                                              Page 4
f'   rschedule K I Shareho ld ers' Pro Rata Share Items (continued)                                                                                      Total amount
     Other             17a Investment income ........................ . .... ..... . ...................................... .                      17a              18, 754.
     ln lor-                                                                                                                                      17 b
     mation                b Investment expenses .. . .............. . . .. ... . ................... ... ........ . .. .... .... · · · · · · ·
                          c Dividend distributions paid from accumulated earnings and profits ..... . ....... • .. .. . . . ..........            17c
                          d Other items and amounts
                             (attach sta tement)
     Recon-      18          lncomenoss reconciliation. Combine the amounts on lines i through iO in the far right column.
     ciliation .             From the result, subtract the sum of the amounts on lines 11 through 12d and lines 141. ..........                   18               18 ,60 9.
     [Schedule L [Balance Sheets per Books                                                 Beginiing of tax year                                End of tax year
                                      Assets                                            (a)                    (b)                        (c)                     (d)
          1     Cash ..... .. . ......... . . . ........... . ......                                                  252 .                                             107.
          2 a Trade notes and accounts receivable ... . ....
              b Less allowance for bad debts.... . ...........
          3     Inventories ................ . ................
                                                                                    .
         4      U.S. government obligations .............. . .
         5      Tax-exempt securities (see instructions) .....
         6      Other current assets (attach stmt) ... ....... .. .     ...
         7      Loans to shareholders ......................                                                    910 176 .                                    1.1 78 930.
         8 Mortgage and rea l estate loans ........ . .....
         9 Other investments (attach statement) .... . ...........
     10 a Buildings and other depreciable asseis.......                                  48 000 .                                          48 000.
              b Less accumulated depreciation .... ... . ......                          48.000.                                           48 000.
     11 a Depletable assets . ... . ............... . .....
       b Less accumula ted depletion ... . .............
     12 Land (ne t of any amortization).. . ............
     13 a Intangible assets (amortizable only) .........
             b Less accumulated amortiza tion .......... . .. .
     14        Other assets (attach stmt). .... .Se.e .. St.. 2..                                              308 001.                                        308 000 .
     15        Total assets ........ ..... . ....... ....... ....                                            1 218 42 9 .                                    1 48 7. 037 .
                 Liabilities and Shareholders' Equity
     16        Accounts payable........ .. .................
     17        Mortgages, notes, bonds payable in less ihan 1 yea~ .....
     18 Other current liabilities (attach stmt) .. ... . .. ........
     19 Loans from shareholders ...... . .............
                                                                                                                                      ~
     20        Mortgages, noies, bonds payable in 1 year or .more .. .. ..                                   1 210 000.                                      1 460 .000 .
     21        Other liabilities (attach statement) ....   S.ee . S.t.. 3..                                          1.
     22        Capita l stock .. .... ................. ..... ...                                                6 000 .                                            6 000 .
     23        Additional pa id·in capital. ..... . .............
     24        Retained earnings ......... . ... .. . ..........                                                  2 428 .                                         21 037.
     25        Adjustments to shareholders' equity (att stmt) .........
     26       Less cost of treasury stock ... ... . .......... .
     27       Total liabilities and shareholders' equi ty... ...                -                            1 218 .4 29 .                                   1. 487 037 .
                                                                                        SPSA0134L 06/27113                                               Form 11205 (2013)
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Dovber Cab Corp.
("Dovber"), a loan or a series of loans in an amount equal to One Million Five Hundred Sixty
Five Thousand Five Hundred Fort Five Dollars ($1,565,545.00) with interest thereon from
December 31, 2015.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                DOVBER CAB CORP., Claimant




                                                                  ttomey for Claimant
                                                                Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl             Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           AFFIDAVIT IN SUPPORT
         a/Ida YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x
STATEOFNEWYORK                        )
                            :s       ))
COUNTY OF
                  ------
         ESMA ELBERG, being duly sworn, deposes and says:

  1.     That I am the sole shareholder, officer and director of Dovber Cab Corp. (hereinafter

         referred to as "Dovber") and I reside in Brooklyn, New York.

  2.     The annexed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

         "decedent"), is just and true and the decedent's debt is currently due.

  3.     Annexed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Five Hundred Sixty Five Thousand

        Five Hundred Fort Five Dollars ($1,565,545.00).

  4.    Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Four Hundred Eighty Two

        Thousand One Hundred Fifty Four Dollars ($1,482,154.00). This return was

        electronically signed by the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl        Doc 34-4       Filed 02/28/18    Entered 02/28/18 16:52:02




7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,565,545.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.


                                                                -ft !:'MM     ilb_;c9:/
                                                              DOVBER CAB CORP.         U
                                                              By: Esma Elberg




                      ROBERT W. PIKEN
                NOTARY PUBLIC, State of New York
                        No.XX-XXXXXXX              /.,/
                  Qualified in New York County (.)
              Commission Expires March 30, 20 ~




                                                          2
               Case 1-17-46613-nhl                 Doc 34-4             Filed 02/28/18          Entered 02/28/18 16:52:02


Form 1120s (2015)     DOVBER CAB CORP                 XX-XXXXXXX                                                                                Page 4
ISchedule K I Shareholders' Pro Rata Share Items (continued)                                                                    Total amount
Other       17a Investment income.......................................... · .. ·· ..... ························       17a               23,947.
In for-       b Investment expenses .........................................................................            17b
mation
              c Dividend distributions paid from accumulated earnings and profiis ...............................        17c
              d Other items and amounts
                (attach statement}
Recon-      18 Income/loss reconciliation. Combine the amounts on lines l through l 0 in the far right column.
ciliatlon          From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                      12,628.
!Schedule L IBalance Sheets per Books                                 Beginning of tax year                               End of tax year
                            Assets                                 (a)                    (b)                    (c)                       (d)
   1 Cash ......................................                                             11. 767.                                        36.273.
   2 a Trade notes and accounts receivable ........
     b Less allowance for bad debts, ..............
                                                                                                                        . .
   3 Inventories ................. , ..............          .
   4 U.S. government obligations................
  5 Tax-exempt securities (see instructions).....
                                                                                                                            "
  6 Other current assets (attach stmt) .................
  7 Loans to shareholders......................                                        l, 197, 325.                                     l, 221 272.
  8 Mortgage and real estate loans .......... , ..
  9 Other investments (attach statement) ...............
 1Oa Buildings and other depreciable assets ......                   84.000.                                      84.000.
    b Less accumulated depreciation .............                    84,000.                                      84.000.
 11 a Depletable assets..........................
    b Less accumulated depletion ................
 12 Land (net of any amortization) ..............
                                                                         ..                                  ' .
 13a Intangible assets (amortizable only) .........                                        '.
    b Less accumulated amortization .............
 14 Other assets (attach stmt) ..... S.e~. St.. 2.                                        308.000
                                                                              "                                                            308.000.
 15 Total assets ...............................                                       1. 517. 092.                                     1.565.545.
        Liabilities and Shareholders' Equity                            ..                    ....
16 Accounts payable ..........................                 ..               :                                      !


17 Mortgages, notes, bonds payable in less than 1 year ....         ' .
18 Other current liabilities (attach stmt) ...............                  ..
19 Loans from shareholders ...................
20 Mortgages, notes, bonds payable in 1 year or more .....        ..
                                                                                      1. 460, 000.                                     1. 498. 325.
21 Other liabilities (attach statement) .... S.ee.. S.t ..3.
                                                                                                   4.                                               4.
22 Capital stock ..............................
                                                                                           26.170.                                          26.170.
23 Additional paid-in capital. ..................                          ..                                        ;

24 Retained earnings . , .......................
                                                                                           30,918.                                          41, 046.
25 Adjustments to shareholders' equity (att stmt) ........
26 Less cost of treasury stock .................
27 Total liabilities and shareholders' equitv .....                      ..
                                                                                      l, 517, 092 .                                    1.565 545.
                                                                   SPSA0134L 08/13/15                                               Form 11205 (2015)
r/  /Form 1120s (2013)
                        Case 1-17-46613-nhl
                               DOVBER CAB CORP
                                                                 Doc 34-4      Filed 02/28/18
                                                                      XX-XXXXXXX
                                                                                                        Entered 02/28/18 16:52:02
                                                                                                                                                                                                                           Page 4
/
     ISchedule K 1Shareholders' Pro Rata Share Items (continued)                                                                                                                                            Total amount
     Other        17 a Investment income ...........................................................................                                                                              17a               18,654.
     In for-
     mation          b Investment expenses .........................................................................                                                                              17b
                     c Dividend distributions paid from accumulated earnings and profits ...............................                                                                          17c
                     d Other items and amounts
                       (attach statement)                                                                                                                                                                                   .....

     Recon-  18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
     ciliation  From the result, subtract the sum of the amounts on lines 11 through 12d and lines 141. .......... 18                18,495.
     !Schedule L IBalance Sheets per Books                        Beginning of tax year                            End of tax year
                      Assets                                   (a)                      (b)                    (c)                 (d)
       1 Cash ......................................                                                     465.                                                                                                              306.
       2 a Trade notes and accounts receivable ........
         b Less allowance for bad debts................
       3 Inventories .................................
                                                                                                                                                            (

       4 U.S. government obligations ................                                                                                             ._,.
                                                                                                                                        ,'   ·~     .. -·               '~- -~        ..
       5 Tax-exempt securities (see instructions) .....
       6 Other current assets (attach stmt) ..................                                                             .....     .._ ~-· .'
                                                                                                                                                                                              .
       7 Loans to shareholders ......................                                              905.194. -· .. :~
                                                                                                                     .-/

                                                                                                                     _:        ..   -~~:;~\':~
                                                                                                                                                        '




                                                                                                                                                                                                               1.173.848.
                                                                                                                                                                             .       -.
       8 Mortgage and real estate loans ..............                                                                          ..            .         -....
       9 other investments (attach statement) ................
      10 a Buildings and other depreciable assets.......                    84.000.                                                                                     84.000.                                                     ;



         b Less accumulated depreciation ..............                     84.000.                                                                                     84.000.
      11 a Depletable assets ..........................
         b Less accumulated depletion .................
      12 Land (net of any amortization)...............
      13 a Intangible assets (amortizable only). .........
         b Less accumulated amortization ..............
      14 Other assets (attach stmt) .....S~.e ..St. 2..                                            308.000.                     ..                                                                     '·
                                                                                                                                                                                                                  308.000.
                                                                                                                                                                         '·
      15 Total assets ................................                                           1. 213 659.                                                                                                   1. 482 .154.
                                                                                                                          ..
                                                                                                                               .. ~·
             Liabilities and Shareholders' Equity
                                                                                                                                                            ,.
      16 Accounts payable...........................                                                                                .. - ,.
      17 Mortgages, notes, bonds payable in less than 1 year .... (                                                                           .·.:          .. ·--
                                                                                                                •.                  .        -...                                             ..
      18 other current liabilities (attach stmt) ................                                                                       .     -
                                                                                                                                                            :
                                                                                                                                                                    '
      19 Loans from sh.areholders ....................                                              '

      20 Mortgages, notes, bonds payable in 1 year or more......                                 1.210.000.                                                             ..
                                                                                                                                                                                                               1.460.000.
                                                                                                                                                                ~   ~
                                                                                                                                                                                              .   .
      21 Other liabilities (attach statement) .... See.. St.. 3..                                        4.                                                                                                            4.
      22 Capital stock ...............................                                              26.170.                ':'               -      :                                                             26.170.
                                                                                                                                                    ·.:
                                                                                                                                                                             ..                       ..
      23 Additional paid-in capital. ...................                                                                                                            ...

      24 Retained earnings ..........................                                              -22.515.                                         ~
                                                                                                                                                                    ..;.
                                                                                                                                                                                                                    -4,020.
                                                                                                                                                                        ;        .
                                                                                                                                                                                          :
      25 Adjustments to shareholders' equity (att stmt) .........
      26 Less cost of treasury stock ..................                                                                                                                      ;·



      27 Total liabilities and shareholders' equity ......                                       1.213.659.                                                                                                     1.482.154.
                                                                            SPSA0'34L 06/27/13                                                                                                               Form 1120$ (2013)
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                      Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Fit Taxi, Inc. ("Fit
Taxi"), a loan or a series of loans in an amount equal to One Million Six Hundred Fifty Five
Thousand Two Hundred Ninety Four Dollars ($1,655,294.00) with interest thereon from
December 31, 2015.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                FIT TAXI, INC., Claimant


                                                                  icA1~ ~~/
                                                                By: ESMA ELBERG
                                                                Title:




                                                                Attorney for Claimant
                                                                Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl             Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                      Deceased.
-------------------------------------------------------------------------x
STATEOFNEWYORK                        )
                            :ss      )
COUNTY OF --+-"-\'J'I__.______;)

        ESMA ELBERG, being duly sworn, deposes and says:

  1.    That I am the sole shareholder, officer and director of FIT TAXI, INC. (hereinafter

        referred to as "Fit Taxi") and I reside in Brooklyn, New York.

 2.     The annexed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

        "decedent"), is just and true and the decedent's debt is currently due.

 3.     Annexed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million Six Hundred Fifty Five Thousand

        Two Hundred Ninety Four Dollars ($1,655,294.00).

 4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million Five Hundred Sixty Thousand

        Seven Hundred Sixty Dollars ($1,560,760.00). This return was electronically signed by

        the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
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7.     No part of said claim has been paid and the full amount thereof in the sum of

       $1,655,294.00 is now actually due, together with interest thereon from December 31,

       2015 at the statutory rate.

8.     Claimant owes no security from the decedent or the decedent's Estate.



                                                                 is~ti 0
                                                             FIT T   I, INC.
                                                                             Eibt!5- -·
                                                             By: Esma Elberg




     Jotar Public

                ROBERT W. PIKEN
        NOTARY PUBUC, State ot New Vt k
                   No. XX-XXXXXXX       or
          .ou.alitied in New York County /./)
     Commrss1on Expires March 30, 20 I 0
                                     --




                                                  2
                     Case 1-17-46613-nhl                          Doc 34-4      Filed 02/28/18            Entered 02/28/18 16:52:02

                             FIT TAXI INC                      11 - 2696693                                                                                         Page 4
!Schedule K I Sh areholders' Pro Rata Sha re Items (continued)                                                                                       Total amount
Other         17 a Investment income . .. ......... . .... . . . . ... . .... . .. . ................ .. ................ . ......            17a             26 42 3.
lnlor-
rnation          b Investment expenses . . ... . .. . ..... . .... ... . .. ........... . . . ............... . ........... . ......          17b
                 c Dividend distributions paid from accumulated earnings and profits ..... . . . .. . . .............. ... . .                17 c
                 d Other items and amounts
                   (attach statement)
Recon-  18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ciliation  From the result, subtract ihe sum of the amounts on lines 11 through 12d and lines 141. ... . . . . .. 18                                         26,481.
!Schedule L I Ba lance Sheets per Books                      Beginning of lax year                               End of lax year
                   Assets                                 (a)                      (b)                    (c)                                               (d)
  1 Cash ... . . . ................... . ..... . .. . ...                                                 260 .                                                     318 .
  2 a Trade notes and accounts receivable ........
    b Less allowance for bad debts............. . ..
  3 Inventories ........ .. .... . ..... . ... . . .. . .. ..                                                                             -
  4 U.S. government obligations ................
                                                                                                                               -
                                                                                                                      r

  5 Tax-exempt securities (see instructions) .....
  6 Otner current assets (attach s mt) . .. .. ....... . . ...
  7 Loans lo shareholders . . . .. . . . . ... . .. . . . ....                                      1. 321 168.                                          1 34 7 591.
  8 Mortgage and real estate loans . ... .... .....
  9 Other investments (attach statement) ... . .. . ... ... ..
 10 a Buildings and other depreciable assets.......                      101 548 .                                                 101 548 .
    b Less accumulated depreciation . . .. . ... .. ....                 101 548.                                                  101.548 .
 11 a Depletable assets . .. . . ..... . . ... ...... . . . ..
    b Less accumulated depletion ... . .. . . .........
 12 Land (net of any amortization). ..............
 13 a Intangible assets (amortizable only} ..... . . ..
    b Less accumulated amortization . .... . . . .. . .. '
 14 Other assets (attach stmt} . ....S ~.e ..St.. 2..                                                 212 851.            l.
                                                                                                                                                           212. 851.
 15 Total assets ........ . ........... . ...... . ...                                              1 534 279 .       "                                  1 560 760 .
                                                                                                                                     -·
        Liabilities and Shareholders' Equity
 16 Accounts payable.......... . ................
 17 Mortgages, notes, bonds payable in less then 1year .. . ..
 18 Other current liabilities (aliach stmt) . . .. .. .. . ... .. ..
 19 Loans from shareholders . . . .... . .... . . .... . .
 20 Mortgag:>.s, notes, bones payable in 1 year or more .. . . . .                                  1 525 000 .                                          1 525 000 .
 21 Other l:abilihes (ar.ach statement) . ..... . ... . . . ... . .
 22 Capital stock ................ . .. . . .. . . . .....                                             30 000 .                                              30 000 .
 23 Additional paid·in capital. .. .... .. .. . ... . . . . .
 24 Retained earnings ...... . ..... . ..... . . . ... . .                                            - 20 721.                                                   5 760 .
 25 Adjustments to shareholders' equity (att stmt) ... . . .. • .
 26 Less cost of treasury stock .............. .. ..
 27 Total liabilities and shareholders' equity ......                                               1 534 279 .           !                              1.560 760 .
                                                                             SPSA0134L   06127113                                                     Form 11205 (2013)
                 Case 1-17-46613-nhl                      Doc 34-4           Filed 02/28/18                Entered 02/28/18 16:52:02


Form 1120s (2015)        FIT TAXI INC                   XX-XXXXXXX                                                                                                      Page 4
!Schedule K         I Shareholders' Pro Rata Share Items (continued)                                                                                     Total amount
Other       17 a Investment income............................................................................                                     17a             27,491.
In for-        b Investment expenses .........................................................................                                     17b
mation
               c Dividend distributions paid from accumulated earnings and profits ...............................                                 17c
               d Other items and amounts
                 (attach statement)
Recon·  18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ciliation  From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ....... , ........ 18                                                 19,503.
)Schedule L I Balance Sheets per Books                       Beginning of tax year                            End of tax year
                  Assets                                  (a)                      (b)                    (c)                                                    (d)
  1 Cash ......................................                                                  11. 865.                                                         40.408.
  2 a Trade notes and accounts receivable ........                                                                                                                               I


    b Less allowance for bad debts ...............
  3 Inventories ................................
  4 U.S. government obligations ................                                                                                                    '•



  5 Tax-exempt securities (see instructions).....
  6 Other current assets (attach stmt) .................
  1 Loans to shareholders......................                                              L 374, 543.                                                      1 402.034.
  8 Mortgage and real estate loans .............
  9 Other investments (attach statement) ...............
 10 a Buildings and other depreciable assets ......                     101. 548.                                             101. 548.
    b Less accumulated depreciation .............                       101.548.                                              101. 548.
 11 a Depletable assets..........................
    b Less accumulated depletion ................
 12 Land (net of any amortization) ..............
                                                                                                               ..             ...
 13a Intangible assets (amortizable only) .........
    b Less accumulated amortization .............
 14 Other assets (attach stmt) ..... S.e~. St.. 2.                 ..                           212.852.            ..        '                                 212.852 .
 15 Total assets ...............................
                                                               :
                                                                                             l, 599, 260.
                                                                                                                         ..   ..         ·.
                                                                                                                                     ..
                                                                                                                                                              1. 655, 294.
        Liabilities and Shareholders' Equity                                          ....         -   .
                                                                                                                                                                             '
16 Accounts payable ..........................                                                                                                            "
17 Mortgages, notes, bonds payable in less than 1 year ....                                                                                   ..
18 Other current liabilities (attach stmt) , , .............                      :

                                                                                                                                              :
19 Loans from shareholders ...................
20 Mortgages, notes, bonds payable in 1year or more .....                                    l, 525, 000.                                                     1. 565. 031.
21 Other liabilities (attach statement) .................
                                                                                                                         "          ..
22 Capital stock ..............................                                                 30~000.                                                          30.000.
23 Additional paid-in capital. ..................
24 Retained earnings .........................                                                  44,260.                                                          60.263.
25 Adjustments to shareholders' equity (att stmt) ........
26 Less cost of treasury stock .................
27 Total liabilities and shareholders' equltv .....                                          L 599, 260.                                                      L 655. 294.
                                                                        SPSA0134L 08/13/15                                                               Form 11205 (2015)
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                      Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Jackhel Cab Corp.
("Jackhel"), a loan or a series of loans in an amount equal to One Million Five Hundred Twenty
Three Thousand Two Hundred Ninety Six Dollars ($1,523,296.00) with interest thereon from
December 31, 2015 ..

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                JACKHEL CAB CORP., Claimant




                                                                P\ttomey for Claimant
                                                                Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl               Doc 34-4      Filed 02/28/18        Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x
STATE OF NEW YORK                    )

COUNTY OF             /J'i    5      )
                                     )

         ESMA ELBERG, being duly sworn, deposes and says:

  1.     That I am the sole shareholder, officer and director of Jackhel Cab Corp. (hereinafter

         referred to as "Jackhel") and I reside in Brooklyn, New York.

  2.     The annexed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

         "decedent"), is just and true and the decedent's debt is currently due.

  3.     Annexed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Five Hundred Twenty Three

         Thousand Two Hundred Ninety Six Dollars ($1,523,296.00).

  4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Four Hundred Thirty Seven

         Thousand Seven Hundred Seventy Four Dollars ($1,437,774.00). This return was

         electronically signed by the decedent.

  5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

  6.    I !mow of no offset to said claim.
     Case 1-17-46613-nhl        Doc 34-4        Filed 02/28/18    Entered 02/28/18 16:52:02




7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,523,296.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.


                                                                 i-S!"1f/    ~---
                                                             1AcKHEL CAB CORP.        (/!
                                                             By: Esma Elberg




                   ROBERT W. PIKEN
           NOTARY PUBLIC, State of New York
                     No. XX-XXXXXXX
                                    20--J!-
              Qualified in New York County KJ
         Commission Expires March 30,




                                                   2
                  Case 1-17-46613-nhl                          Doc 34-4             Filed 02/28/18            Entered 02/28/18 16:52:02



Form 11205 (2015) JACKHEL CAB CORP       XX-XXXXXXX                                                                                                               Page 4
ISchedule·K I Shareholders' Pro Rata Share Items (continued)                                                                                       Total amount
Other        17 a Investment income....................................................................... · · · ..                        17a               24,337.
Infor-                                                                                                                                     17b
mation          b Investment expenses .........................................................................
                c Dividend distributions paid from accumulated earnings and profits ...............................                        17c
                d Other items and amounts                                                                                                                                   :

                  (attach statement)
Recon-  18 Income/loss reconciliation. Combine the amounts on lines 1 through l O in the far right column.
ciliation  From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ...............• 18                                              14,561.
!Schedule L I Balance Sheets per Books                       Beginning of tax year                             End of tax year
                  Assets                                  (a)                       (b)                    (c)                                             (d)
   1 Cash......................................                                                           11 558.                                            37,607.
   2 a Trade notes and accounts receivable ........
     b Less allowance for bad debts ...............
  3 Inventories ................................
  4 U.S. government obligations ................
  5 Tax-exempt securities (see instructions).....                                                                   .   .
  6 Other current assets (attach stmt) .................
  7 Loans to shareholders......................                                                     l,216,851.                                         L 241, 188.
  8 Mortgage and real estate loans .............
  9 Other investments (attach statement) ...............
 10 a Buildings and other depreciable assets ......                           120,000.                                      120.000.
    b Less accumulated depreciation .............                             120 000.                                      120.000.
 11 a Depletable assets..........................
    b Less accumulated depletion ................
12 Land (net of any amortization) ..............
13a Intangible assets (amortizable only) .........
    b Less accumulated amortization .............
14 Other assets (attach stmt) ..... S.e~ . .St.. 2.                                                  244,501.                                           244, 501.
15 Total assets ...............................                                                    L 472. 910.                                        L 523, 296.
        Liabilities and Shareholders' Equity                         :   ..                                                                                            ..
16 Accounts payable ..........................                                ..
                                                                                                   ...
                                                                                                                                           .   .
17 Mortgages, notes, bonds payable in less than 1 year ....
                                                                                                                                 .   ..
18 Other current liabilities (attach stmt) ...............                              .   .
19 Loans from shareholders ...................                                                                              ..

20 Mortgages, notes, bonds payable in 1 year or more .....
                                                                                                   L460,000.                                          l,   498, 325.
21 Other liabilities (attach statement) .................
22 Capital stock ..............................                                                          15,000.                                            15,000.
23   Additional paid-in capital ...................
24   Retained earnings .........................                                                         -2,090.                     . .                     9, 971.
25   Adjustments to shareholders' equity (att stmt) ........
26   Less cost of treasury stock .................                            ;

27   Total liabilities and shareholders' equity .....           ..                                 l,472,910.                                        1.523,296 .
                                                                              SPSA0134l 08/i3115                                                   Form 11205 (2015)
                       Case 1-17-46613-nhl                         Doc 34-4          Filed 02/28/18                Entered 02/28/18 16:52:02
~/
/.   Form 11205 (20i3)         JACKHEL CAB CORP                        XX-XXXXXXX                                                                                                        Page 4
     ISchedule K I Shareholders' Pro Rata Share Items (continued)                                                                                                     Total amount
     Other        17a Investment income ................................................................. '. .........
     Infor-
                                                                                                                                                                17a            19,029.
     mation         b Investment expenses .........................................................................                                             17b
                    c Dividend distributions paid from accumulated earnings and profits ...............................                                         17c
                    d Other items and amounts                                                                                                                             ..   •.J   •
                                                                                                                                                                                         ..   ..

                      (attach statement)
     Re con-      18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
     ciliation
                               From the result, subtract the sum of the amounts on lines 11 through l 2d and lines 141. .......... 18                                       18,905.
     !Schedule L                   IBalance Sheets per Books                   Beginning of tax year                                                     End of tax year
                                        Assets                              (a)                     (b)                                    (c)                            (d)
       1 Cash ...............                               '    ....                                     406.                                                                   282.
       2; • ·_,JJ,....: •'\r,*c...:- · _ -vvJunts recei\'3Jle. ... . ~·l
         b _ess allowance for bad debts................                                  i     '
       3 Inventories .................................
       4 U.S. government obligations ................
       5 Tax-exempt securities (see instructions) .....                                                                           - :- ~· i.:
       6 Other current assets (attach stmt) ..................
                                                                                                                         : ...
       7 Loans to shareholders ......................                                               923.962.                                                           1.192, 991.
       8 Mortgage and real estate loans ..............                                                                        ..
       9 Other investments (attach statement) ................                                                                              ··-. '
                                                                                                                                               ~·
                                                                                                                                                           :


      10 a Buildings and other depreciable assets.......                    120.000.                                                     120,000.
         b Less accumulated depreciation ..............                     120.000.                                                     120,000.
     11 a Depletable assets ..........................
         b Less accumulated depletion .................
     12 Land (net of any amortization)...............
     13 a Intangible assets (amortizable only) .........
         b Less accumulated amortization ..............
     14 Other assets (attach stmt). .....Se.e ..St.. 2..                                           244.502. '                                                            244.501.
     15 Total assets ................................                                           1.168.870.                                                             1.437,774.
             Liabilities and Shareholders' Equity                                                           ..                       ..                '.           --        ..
     16 Accounts payable. ..........................                                                                  -                                  ..
                                                                                                                                 ·- .. ..               - . -
     17 Mortgages, notes, bonds payable in less than 1 year .....                                                                 ...."   :_
                                                                                                                                                   :

                                                                                                                                                          '··
     18 Other current liabilities (attach stmt) ................                                                   ., . _:
                                                                                                                         '.     ;



     19 Loans from shareholders ....................                                                                          -   .        .
                                                                                                                                                     '·-
                                                                                                                                                      '    '.
                                                                                                                                                                ..
     20 Mortgages, notes, bonds payable in 1 year or.more......                                 L210.000.                   . .....   .
                                                                                                                                          - . . :~                     1,460,000.
     21 Other liabilities (attach statement) .... See . St.. 3..                                             1.                          '
     22 Capital stock ...............................                                                15,000.                                                               15.000.
     23 Additional paid-in capital. ...................
     24 Retained earnings ..........................                                               -56,131.                       ~                  ~.
                                                                                                                                                          ..             -37.226.
     25 Adjustments to shareholders' equity (att stmt) .........                                                                 ~
                                                                                                                                       '        ..
     26 Less cost of treasury stock ..................
                                                                                                                  ... -      '   ~·

                                                                                                                                      .. :                   ..

     27 Total liabilities and shareholders' equity ......                                       l, 168, 870.                                                           1.437, 774.
                                                                             SPSA0134L 06/27/13                                                                    Form 11205 (2013)
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18         Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
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In the Matter of the Estate of:                                                    File No.: 2014-46

         JACOB ELBERG                                                             NOTICE OF CLAIM

         a/k/a Y AAKOV ELBERG

                  - - ---      ____--J)t..:1.~--------                                                    -.__

-------------------------------------------------------------------------)(

To: TAMARA PEWZNER and REUBEN ELBERG, E)(ecutors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Jarub Trans Corp.
("Jamb"), a loan or a series of loans in an amount equal to One Million Two Hundred Fifty Five
Thousand One Hundred Ninety Five Dollars ($1,255,197.00) with interest thereon from
December 31, 2015.

      The facts forming the basis of this claim are described in the anne)(ed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                    JARUB TRANS CORP., Claimant




                                                               1-   Attorney for Claimant
                                                                    Piken & Piken
                                                                    630 Third Avenue, 23rd Floor
                                                                    New York, New York 10017
                                                                    (212) 682-5522
       Case 1-17-46613-nhl            Doc 34-4        Filed 02/28/18         Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x
STATEOFNEWYORK                       )

COUNTY OF             .~?
        ESMA ELBERG, being duly sworn, deposes and says:

  1.    That I am a shareholder, officer and director of Jarub Trans Corp. (hereinafter referred to

        as "Jarub") and I reside in Brooklyn, New York.

 2.     The annexed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

        "decedent"), is just and true and the decedent's debt is currently due.

 3.     Annexed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million Two Hundred Fifty Five Thousand

        One Hundred Ninety Five Dollars ($1,255,197.00).

 4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million One Hundred Ninety Five

        Thousand Three Hundred Six Dollars ($1, 195,306.00). This return was electronically

        signed by the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl             Doc 34-4          Filed 02/28/18   Entered 02/28/18 16:52:02




7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,255,197.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.



                                                                    J~J'B®Ns ~ eref/
                                                                    By: Esma Elberg




                       ROBERT W. PIKEN
             NOTARY PUBLIC, State of New York
                         No. XX-XXXXXXX
          ,     _au.alitied in New York County 1.fJ
         f.ornrrns~wn Expires March 30, 20 __ __
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                                               / l:>
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                    Case 1-17-46613-nhl                     Doc 34-4           Filed 02/28/18                                    Entered 02/28/18 16:52:02
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Form 11205 (2015)         JARUB TRANS               CORP            XX-XXXXXXX                                                                                                                             Page 4
ISQIJ~d.ul~. K I Shareholders' Pro Rata Share Items (continued)                                                                                                                             Total amount
Other
In for-
             17 a Investment income....................................................... ·. . . . . . . . . . . . . . . . . . . . . 17 a      2 0, 4 9 8 .
                                                                                                                                     1--1------''"----
mation          b Investment expenses ......................................................................... ._17_b-+--------
                c Dividend distributions paid from accumulated earnings and profits............................... 17c
                                                                                                                                     1----1--------~
                d Other items and amounts                                                                                                    ··
                  (attach statement)

 11
~ j ~~i~n
        18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
           From the result, subtract the sum of the amounts on lines 11 through 12d and 141 . . . . . . . . . . . . . . . . 18                1,                                                           7 4 9.
ISchedule L IBalance Sheets per Books                        Beginning of tax year                                        End of tax year
                 Assets                                   (a)                      (b)                          (c)                       (d)
  1 Cash ..................................... .                               6.798.         19.812.
  2 a Trade notes and accounts receivable ....... .
                                                                 1---------1
    b Less allowance for bad debts .............. .
                                                          1---------+--------+---~----+---------
  3 Inventories ............................... .                  -1 - - - - - - - - 1 '
                                                                                        ._ --                                                                      ~~:


  4 U.S. government obligations ............... .
  5 Tax-exempt securities (see instructions) .... .
  6 Other current assets (attach stmt) ................ .
  7 Loans to shareholders..................... .                                                             1.024.886.                                                                        1. 045. 384.
  8 Mortgage and real estate loans ............ .
  9 Other investments (attach statement) .............. .
 10a Buildings and other depreciable assets ...... i-----___,,8~4::..i:--=5:...o4=5,._.'--I                                                                          84. 545.
    b~~aocumul~~d~reci~oo ............. ~--~8~4~~·5~4~5~·~------~~--~8,._4~~·5~4~5~·~-----~~
 11 a Depletable assets ..........................               i----------1
      bLe~aocum~a~dde~etion ................ ~------~--------+--------+-------~
 12 Land (net of any amortization) ............. .
 13 a Intangible assets (amortizable only) .........             ~-------1
   b~~aocumu~~damo~z~oo ............. ~---~-~~~----~-~--~----~--~~·-~~
 14 Other assets (att~ch stmt) ..... Se~. S.t.. 2. 190. 001.      190. 001.
15 To~lasse~ ............................... ~~~~~~~~~1~·~2~2~1~·~6~8~5~·~~~~~~~~~~1~·=2~5~5~.1~97~.
     Liabilities and Shareholders' Equity
16 Accounts payable ......................... .
17 Mortgages, notes, bonds payable in less than 1 year ... .                         ·-
                                                             .,:·
18 Other current liabilities (attach stmt) .............. .               ··~.>-:-.:~ >~· ·:t:·-~--·.: ~-------
19 Loans from shareholders .................. .
20 Mortgages, notes, bonds payable in 1 year or more .... .
21 Other liabilities (attach statement) ................ .
                                                                                            1---=1::....i..-.=2.::..lo:::..,J.;.....:o;...:.o-=-o
                                                                                                                                                -=-i·   •   '~;;:~~~~"<>
                                                                                                                                                                   .··.·
                                                                                                                                                                                        ·      L 241. 763.

 22   Capital stock ............................. .                                                                         3.557.                           ·..         ~   .. .   :                 3.557.
 23   Additional paid-in capital. ................. .
 24   Retained earnings ........................ .                                                                           8,128.                                                                   9. 877.
 25   Adjustments to shareholders' equity (att stmt} ....... .
 26   Less cost of treasury stock ................ .
 27   Total liabilities and shareholders' equity .... .                                                      L 221. 685.                                                                       1. 255.197.
                                                                             SPSA0134L 08/13/15                                                                                              Form 11205 (2015)
                    Case 1-17-46613-nhl                              Doc 34-4            Filed 02/28/18                     Entered 02/28/18 16:52:02

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Form 1120S (2013) JAROB TRANS. CORP                                 XX-XXXXXXX
 S_Gneqyle;.~~.. Sharehold ers' Pro Rata Share Items continued                                                                                                                 Total amount

Other    17 a Investment income ... . . . . . . ..... .... .. . ....... . .. . . .. .. .. . .... .. . . . .. . .... .. . .. . . . . . • . . ... .. . 1--1_7_a+-----"'1"""9---'--'7_0~2"-'-.
Infor-      b Investment expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. •.. . .. . .. . .... . . . . . .. f-17_b-!---- - - - - -
mation
            c Dividend distributions paid from accumulated earnings and profits . . . . . . . . .. . . . ... .. .... . . . ... . . 1--=i...,------=--~
                    d Other items and amounts
                      attach statement)
Recon-         18    Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ci liation           From the result, subtract the sum of the amounts on lines 11 through 12d and lines 141. . . . . . . . . . .                            18                    19, 8 21 .
Scnedule·I;."":_ Balance Sheets er Books                                              Beginning of tax year                                             End of tax year


  1      Cash .... . .......... . . .. .. . . . .. ... .. . .                                                                                                                              516 .
   2 a Trade notes and accounts receivable .. . . . . . .
       b Less allowance for bad debts . .. . . .. ... . .. . .
   3     Inventories . . . ... . ..... .. .... ... . . •. . . . . . . .
   4     U.S. government obligations... . . . . . .. . ... . .
  5      Tax-exempt securities (see instructions). .. . .
  6      Other current assets (attach stmt) ....... . .. . . .. .. .
  7      Loans to shareholders. . . . . . . . . . . . •. ... . . .                                               985 088 .                                                 1    004 790 .
  8      Mortgage and real estate loans . .. . . .. . . . .. .
  9      Other investments (at1ach statement) . ... .. .. . .. . .. .
 1Oa Buildings and other depreciable assets ... .. . 1-- ---"8,_4,_,_,5"-4-'-"'-
                                                                             5-'-l
                                                                                 .
   b Less accumulated depreciation. . . . . . . . .              8 4 5 45 .
 11 a Depletable assets. . . . . . . . . . . . .. . . . .. . . ... . .
       b Less accumulated depletion . ... ... . . . . . . .. .
 12      Land (ne t of any amortization). . . . . .
 13 a Intangible assets (amortizable only) ... . . ... .
       b Less accumulated amortization . . ... . ... . . . .
 14 Other assets (attach stmt) . ... . .Se~ . .St .. 2.                                                          19 0 000.                                                      190 000 .
 15 Total assets . . . ...... .                                                                              1 17 5 485.                                                        195 306 .
     Liabilities and Shareholders' Equity                                                                        . -.   ~                                                        ... ::; ...   --.;~   j
 16 Accounts payable .. . ............ . .. . .... .. .
 17 Mortgages, notes, bonds payable in less than l year ... .
 18 Other current liabilities (attach stmt) . . .. . . ... . . . .. .
 19 Loans from shareholders .... . . . . . . . . . ..... .
 20     Mortgages, notes, bonds payable in l year or more . . . . .                                          1 210                                                         1 210 000.
 21     Other liabilities (attach statement) ... .. . .. . . ... .. . .
 22 Capital stock ... . ..... . .... . . . . . ••.. .. . . •• .                                                         3                                                           3 557 .
 23 Additional paid-in capi tal . . . ..• .... . .... • . ..
 24 Retained earnings . .. .. .. . . . . . . .... ... . . . . .                                                  - 38                                                          - 18 251.
 25 Adjustments to shareholders' equity (alt stmt} ....... .
26      Less cost of treasury stock . .. . . . .. ... . . ... .
27 Total liabilities and sha reholders' equity . . . . .                                                     1 175 485 .                                                  1 195 306 .
                                                                                    SPSA0134l     06/27113                                                             Form 11205 (2013)
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Lechaim Cab Corp.
("Lechaim"), a loan or a series of loans in an amount equal to One Million Two Hundred
Seventy Six Thousand Six Hundred Eighty Dollars ($1,276,680.00) with interest thereon from
December 31, 2015.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                LECHAIM CAB CORP., Claimant




                                                                lo      RT W. PIKEN
                                                              i Attorney for Claimant
                                                             1 Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x:
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                      Deceased.
-------------------------------------------------------------------------x:
STATE OF NEW YORK                     )

COUNTY OF N. ss          'f           )
                                      )

         ESMA ELBERG, being duly sworn, deposes and says:

  1.     That I am the sole shareholder, officer and director of Lechaim Cab Corp. (hereinafter

         referred to as "Lechaim") and I reside in Brooklyn, New York.

  2.     The annexed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

         "decedent"), is just and true and the decedent's debt is currently due.

  3.     Annexed hereto is a copy of Schedule L of the 2015 Corporate Tax: Return, where at Line

         15, it states a balance due at year-end of One Million Two Hundred Seventy Six

         Thousand Six: Hundred Eighty Dollars ($1,276,680.00).

  4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax: Return, where at Line

         15, it states a balance due at year-end of One Million Two Hundred Twenty Six

         Thousand Eighty Five Dollars ($1,226,085.00). This return was electronically signed by

         the decedent.

  5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

  6.     I know of no offset to said claim.
     Case 1-17-46613-nhl            Doc 34-4          Filed 02/28/18     Entered 02/28/18 16:52:02




7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,276,680.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.                    ~----


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                                                                       f)         ,    >?' f{
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                                                                                              ,/
                                                                   LECHAIM CAB CORP.
                                                                   By: Esma Elberg


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            Ikt~" c.(f:---                      -··7
      Not~fy      blic
        I              ROBERT  w.   PIKEN
              NOTARY PUBLIC, State of New York
                         No. XX-XXXXXXX
                .au.alified i~ New York County / tJ
            Commrssron Expires March 30, 20 _J.-E__




                                                        2
                 Case 1-17-46613-nhl                           Doc 34-4         Filed 02/28/18               Entered 02/28/18 16:52:02


Form 11205 (2015)         LECHAIM CAB CORP                           XX-XXXXXXX                                                                                        Page 4
fSchedule K          I Shareholders' Pro Rata Share Items (continued)                                                                                   Total amount
Other        17a Investment income..................................................................... ·.· ....                                  17a               18,628.
In for-                                                                                                                                           17b
mation         b Investment expenses ................... , .....................................•...............
               c Dividend distributions paid from accumulated earnings and profits ...............................                                17c
               d Other items and amounts
                 (attach statement)                                                                                                                             "

Re con- 18 lncomenoss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ciliation   From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                                                 -4,386.
ISchedule L · IBalance Sheets per Books                     Beginning of tax year                            End of tax year                                                -


                   Assets                                (a)                      (b)                    (c)                                                   (d)
   1 Cash ......................................                                                          5,393.                                                 14,142.
   2 a Trade notes and accounts receivable ........
     b Less allowance for bad debts ...............
  3 Inventories ................................
  4 U.S. government obligations................
  5 Tax-exempt securities (see instructions) .....
  6 Other current assets (attach stmt) .................
  7 Loans to shareholders......................                                                         931. 410.                                              950,038.
  8 Mortgage and real estate loans .............
  9 Other investments (attach statement) ...............
                                                                                                                                            ..
                                                                                                                                                                                ;
 10 a Buildings and other depreciable assets ......                       49,495.                                                       49,495.
    b Less accumulated depreciation .............                         49,495.                                                       49,495.
 11 a Depletable assets ..........................
    b Less accumulated depletion ................
 12 Land (net of any amortization) ..............                .   .             ..                               ....   ....   ...   "        . -
 13a Intangible assets (amortizable only) .........
    b Less accumulated amortization .............
14 Other assets (attach stmt) ..... S.e~. St .. 2.                                               312,500.                                                    312.500.
15 Total assets ...............................                                               l,249,303.                                                   1,276,680.
        Liabilities and Shareholders' Equity                                                       ..
16 Accounts payable ..........................
17 Mortgages, notes, bonds payable in less than 1 year ....
18 Other current liabilities (attach stmt) ...............
                                                                           ..                                                               '"
19 Loans from shareholders ...................
20 Mortgages, notes, bonds payable in 1 year or more .....                                         210, 000.
                                                                                              l,                                                           L24L763.
21 Other liabilities (attach statement) .................
22 Capital stock ..............................                                                         10,500.                                                10,500.
23   Additional paid-in capital. ..................
24   Retained earnings .........................                                                        28,803.                                                24,417.
25   Adjustments to shareholders' equity (alt stmt) ........
26   Less cost of treasury stock .................
27   Total liabilities and shareholders' equity .....                                         1, 249,      303.                                            l,276,680.
                                                                         SPSA0134L 08/13115                                                             Form 11205 (2015)
                      Case 1-17-46613-nhl                               Doc 34-4                Filed 02/28/18                      Entered 02/28/18 16:52:02

                              LECHAIM CAB CORP                               11- 300071 8                                                                                                      Page 4
!Sched ul e K I Shareholders' Pro Rata Share Items (continued)                                                                                                                  Total amount
Oth er        17 a Investment income ..... . . . ... . . . . . . . . . . . . . ' . . . . .. . ..... . . . ' . . .. . . ... . . .. . . . . . . . . . . .. . . .. .. . ..   17a           17,905 .
Infor·
mati on          b Investment expenses .......... . . ... . . . .. .... ....... .. ...... .............. .. . .. . ......... . ...                                        17b
                c Dividend distributions paid from accumulated earnings and profits ........ . ..... . .. .. ........ . . . .                                             17c
                d Other items and amounts
                   (attach statement)
Recon·  18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
cil iati onFrom the result, subtract the sum of the amounts on lines 11 through 12d and lines 141. ... .. . . ' . ' 18                                                                  18,023 .
!Schedule L I Balance Sheets per Books                       Beginning of tax year                                 End of tax year
                  Assets                                  (a)                      (b)                    (c)                                                                         (d)
 1 Cash .. ...... . ..... .. ....... . . . ...... .. . . . .                                                                        320 .                                                      438 .
 2 a Trade notes and accounts receivable ... . ....
   b Less allowance for bad debts.. .. .... . ... .. . .
 3 Inventories . .. .... .. ..... ....... .•. .........
 4 U.S. government obligations ....... ... . .. ...
 5 Tax ·exempt securities (see instructions) . .. ..
 6 Other current assets (attach stmt) .. . .. .... ..... ....
 7 Loans to shareholders .. ..... . . . ... . •.. .. ...                                                                  895 242 .                                                   913 147.
 8 Mortgage and rea l estate loans . . . . .. . .... . ..
 9 Other investments (attach st2tement) ... . . . . .. .... ...
10 a Buildings and other depreciable assets. . .. ' .                                     49 495 .                                                             49 495.
   b Less accumulated depreciation .... . ... . . ' . . .                                 49 495.                                                              49 495.
11 a Depletable assets .... ... ...... .. .....•... . .
   b Less accumulated depletion ... ..... .. ..... . .
12 Land (net of any amortization). . . . . .. .. .. . .. .
13 a Intangible assets (amortizable only} .... . ....
   b Less accumulated amortization . . ..... . . .....
14 Other assets (attach stmt).. .. . .S~.E;: ..St.. 2..                                                                312 500 .                                                      312 500 .
15 Total asse ts..... . .... ... ....... . . . . . ... . . . .                                                       1 208 062 .                                                   1. 226 085 .
       Liabilities and Shareholders' Equity
16    Accounts payable. ..... . .... .. . . .... . . .. . .. .
17    Mortgages, notes, bonds payable in less than 1 year .....
18    Other current liabilities (attach stmt) . .. . . ....... . . . .
19    Loans from shareholders....... . ... . .... . .. .
20    Mortgages, notes, bonds payable in 1 year or more .... . •                                                     1 210 000 .                                                   1 210 000 .
21    Other liabilities (attach statement). ........... . . ... .
22 Capital stock . ... ..... ... . . ........... .. .. . .                                                                   10 500 .                                                   10 500 .
23 Additional paid·in capital. ... . . .. ... . .. ... .. .
24 Retained earnings .. .. ....... .... .... .. . . .. .                                                                  -1 2 438 .                              .                         5 585.
25 Adjustments to shareholders' equity (att stmt) ...... . . .
26 Less cost of treasury stock ...... . .. . ..... . . .                                                                                              .
27 Total liabilities arid shareholders' equity .. . . . .                                                            1 208 062 .                          .                        1 226 085 .
                                                                                           SPSA0134l 06/27113                                                                   Form 11205 (2013)
      Case 1-17-46613-nhl              Doc 34-4         Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------:x
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                      Deceased.
-------------------------------------------------------------------------:x

To: TAMARA PEWZNER and REUBEN ELBERG, E:xecutors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Merab Cab Corp.
("Merab"), a loan or a series of loans in an amount equal to One Million Three Hundred
Eighteen Thousand Six Hundred Thirty Eight Dollars ($1,318,638.00) with interest thereon from
December 31, 2015.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                 MERAB CAB CORP., Claimant


                                                                   -£, Ov1 e, -iUetr9Y
                                                                 T0
                                                                 By: ESMA ELBERG    T.f'         -




                                                                ~Attorney for Claimant
                                                                 Piken & Piken
                                                                 630 Third Avenue, 23rd Floor
                                                                 New York, New York 10017
                                                                 (212) 682-5522
       Case 1-17-46613-nhl                  Doc 34-4    Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------'X
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            AFFIDAVIT IN SUPPORT
         a/k/a Y AAKOV ELBERG

                                      Deceased.
-------------------------------------------------------------------------'X
STATEOFNEWYORK

COUNTY OF         _   _.__
                       /"'   __
                       ill'/: s
                                      )
                                       ))
                                  _____,




         ESMA ELBERG, being duly sworn, deposes and says:

  1.     That I am the sole shareholder, officer and director of Merab Cab Corp. (hereinafter

        referred to as "Merab") and I reside in Brooklyn, New York.

 2.     The anne'Xed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

        "decedent"), is just and true and the decedent's debt is currently due.

 3.     Anne'Xed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Three Hundred Eighteen Thousand

        Six Hundred Thirty Eight Dollars ($1,318,638.00).

 4.     Also attached is a copy of Schedule L of the 2013 Corporate Ta'X Return, where at Line

        15, it states a balance due at year-end of One Million Two Hundred Fifty Five Thousand

        Nine Hundred Fifteen Dollars ($1,255,915.00). This return was electronically signed by

        the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl        Doc 34-4         Filed 02/28/18   Entered 02/28/18 16:52:02




7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,318,638.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.


                                                              Jl.s.A1tz  lJJmT/
                                                              MERAB CAB cQRP. 0
                                                              By: Esma Elberg




                      ROBERT W. PIKEN
                        No. XX-XXXXXXX    '.fl
              NOTARY PUBLIC, State of New York
                 Qualified in New York County
            Commission Expires March 30, 20




                                                   2
                 Case 1-17-46613-nhl                            Doc 34-4   Filed 02/28/18              Entered 02/28/18 16:52:02


Form 11205 (2015) MERAB CAB CORP      XX-XXXXXXX                                                                                                                   Page 4
!Schedule K I Shareholders' Pro Rata Share Items (continued)                                                                                     Total amount
Other       17a Investment income............................................................................                              17a               22,823.
In for·
mation        b Investment expenses .........................................................................                              17b
              c Dividend distributions paid from accumulated earnings and profits ..................... ..........                         17c
              d Other items and amounts                                                                                                           I                       !
                                                                                                                                                                          I
                (attach statement)
Recon-  18 Income/loss reconciliation. Combine the amounts on lines l through 10 in the far right column.
ciliation  From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                                                  3,756.
ISchedufe L I Balance Sheets per Books                       Beginning of tax year                            End of tax year
                  Assets                                  (a)                      (b)                    (c)                                              (d)
 1 Cash ......................................                                                     5.492.                                                   18.187.
 2 a Trade notes and accounts receivable ........
   b Less allowance for bad debts ...............
 3 Inventories ................................
 4 U.S. government obligations ................                                                                                       ..
 5 Tax-exempt securities (see instructions).....
 6 Other current assets (attach stmt) .................
 7 Loans to shareholders......................                                              l,   141. 128.                                            1. 163, 951.
 8 Mortgage and real estate loans .............
 9 Other investments (attach statement) ...............
10 a Buildings and other depreciable assets ......                    102,547.                                                  102.547.
   b Less accumulated depreciation .............                      102,547.                                                  102.547.
11 a Depletable assets..........................
   b Less accumulated depletion ................
12 Land (net of any amortization) ..............
13a Intangible assets (amortizable only) .........
   b Less accumulated amortization .............
14 Other assets (attach stmt) ..... S.ee.. St .. ?.                                           136.500.                                                   136.500.
15 Total assets ...............................                                             L 283.120.                                                1. 318, 638.
       Liabilities and Shareholders' Equity
16 Accounts payable ..........................
17 Mortgages, notes, bonds payable in less than l year ....
18 Other current liabilities (attach stmt) ...............                                                                 ..
19 Loans from shareholders ...................                                                                   ..
20 Mortgages, notes, bonds payable in 1year or more .....                                   l,   210, 000.                                            l,   241. 763.
21 Other liabilities (attach statement) .... S.ee.. S. t ..3.                                           3. . .        ..                                          2.
22 Capital stock ..............................                                                    4.500.                                                    4.500.
23 Additional paid-in capital. ..................                                                                                '.
                                                                                                                       ··.
24 Retained earnings .........................                                                    68.617.        ..                                         72.373.
25 Adjustments to shareholders' equity (att stmt} ........
26 Less cost of treasury stock .................
27 Total liabilities and shareholders' equity .....                                         1.283,120.                                              l, 318. 638.
                                                                       SPSA0134L 08/13/15                                                        Form 11205 (2015)
                                  Case 1-17-46613-nhl                           Doc 34-4   Filed 02/28/18          Entered 02/28/18 16:52:02
  .        ~:)..    .
      -=-:..--;;.;_:<


i ·         form 11·205 (2013) MERAB CAB CORP    XX-XXXXXXX                                                                                                                                        Page 4
           [Schedule R I Shareholders' Pro Rata Share Items (continued)                                                                                                             Total amount
            Other         17a Investment income ...........................................................................                                             17a                 21. 936.
            In for-                                                                                                                                                     17b
            mation          b Investment expenses .........................................................................
                            c Dividend distributions paid from accumulated earnings and profits ...............................                                         17c
                            d Other items and amounts
                              (attach statement)
            Recon- 18 lncomenoss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
            ciliation From the result, subtract the sum of the amounts on lines 11 through 12d and lines 141. .......... 18               22,                                                      317.
           !Schedule L IBalance Sheets per Books                       Beginning of tax year                            End of tax year
                            Assets                                  (a)                       (b)                   (c)                 (d)
              1 Cash ......................................                                                         281.                                                                           662.
              2 a Trade notes and accounts receivable ........
                b Less allowance for bad debts................
                                                                                                                                               ..
              3 Inventories .................................                                                                                           .,


              4 U.S. government obligations ................                                                                                                  ..
              5 Tax-exempt securities (see instructions) .....                                                                         ...~---- ·.. ':"'" -   '
                                                                                                                                                                   .    ·-.
                                                                                                                                                                        ' . ..
              6 Other current assets (attach stmt) ..................                                                       ·.                                     •'-..: ... • '
                                                                                                                                  ,.                                         ..
              7 Loans to shareholders ......................                                                1, 096. 817.
                                                                                                                           . .
                                                                                                                                  .        .                       ..   '
                                                                                                                                                                                       1. 118. 753 .
              8 Mortgage and real estate loans ..............
              9 Other investments (attach statement). . . . . . . . . . . . . . . .                                        ..

             10 a ·Buildings and other depreciable assets.......                                                                                                                                          ;
                                                                                       102.547.                                                 102.547.
                b Less accumulated depreciation ..............                         102,547.                                                 102.547.
             11 a Depletable assets ..........................
                b Less accumulated depletion .................
             12 Land (net of any amortization)...............
            13a Intangible assets (amortizable only) .........
                b Less accumulated amortization ..............
            14 Other assets (attach stmt)......Se.e ..St. 2..                                                  136 500.                                                                   136.500.
            15 Total assets ................................                                                1. 233. 598.                                                               1. 255. 915.
                    Liabilities and Shareholders' Equity
            16 Accounts payable...........................
            17 Mortgages, notes, bonds payable in less than 1 year .....
            18 Other current liabilities (attach stmt) ................
                                                                                                                                 .. ..                                        .-
            19 Loans from shareholders ............... ·.....
            20 Mortgages, notes, bonds payable in 1 year or more......                                      1. 210. 000.          ..   ~
                                                                                                                                                                                       1. 210. 000 .
            21 Other liabilities (attach statement) .... S.ee. St.. 3..                                               3.                                                                             3.
            22 Capital stock ...............................                                                     4.500.                                                                      4.500.
            23 Additional paid-in capital. ...................
                                                                                                                                                    -   .
            24 Retained earnings, .........................                                                    1.9.095.                                                                    41. 412.
            25 Adjustments to shareholders' equity (att stmt) .........
            26 Less cost of treasury stock ..................
            27 Total liabilities and shareholders' eouitv ......                                            1. 233. 598.                                                               1.255.915.
                                                                                       SPSA0134L 06/27113                                                                           Form 1120$ (2013)
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Merill Transit, Inc.
("Merill"), a loan or a series of loans in an amount equal to One Million Two Hundred Forty
Two Thousand Six Hundred Seventy Nine Dollars ($1,242,679.00) with interest thereon from
December 31, 2014.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                MERILL TRANSIT, INC., Claimant




                                                                Attorney for Claimant
                                                                Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl             Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x
STATEOFNEWYORK           )
              J l_~       )
                  -!-_ __,)
COUNTY OF _ _,__/V---'

         ESMA ELBERG, being duly sworn, deposes and says:

  1.     That I am a shareholder, officer and director of Merill Transit, Inc. (hereinafter referred

         to as "Merill") and I reside in Brooklyn, New York.

  2.     The annexed claim against the Estate of Jacob El berg, deceased (hereinafter referred to as

         "decedent"), is just and true and the decedent's debt is currently due.

  3.     Annexed hereto is a copy of Schedule L of the 2014 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Two Hundred Forty Two Thousand

         Six Hundred Seventy Nine Dollars ($1,242,679.00).

  4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Two Hundred Three Thousand Nine

        Hundred Fifty One Dollars ($1,203,951.00). This return was electronically signed by the

        decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl          Doc 34-4         Filed 02/28/18   Entered 02/28/18 16:52:02




7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,242,679.00 is now actually due, together with interest thereon from December 31,

      2014 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.



                                                                ~~~~/·
                                                                M r: T NSIT, INC
                                                                By: Esma Elberg




       I
                     ROBERT W. Pll<EN
             NOTARY PUBLIC, State of New York
                       No. 3·1-8373580       .(}
                                          J__
                Qualified in New York County {)
           Commission Expires March 30, 20




                                                     2
                Case 1-17-46613-nhl                     Doc 34-4            Filed 02/28/18              Entered 02/28/18 16:52:02


Form 11205 (2014)       MERILL TRANSIT INC                       XX-XXXXXXX                                                                                Page 4
!Schedule K        I Shareholders• .r?ro Ra~a          Share Items (continued)                                                              Total amount
Other       17 a lnvestrnent inco\11e. ........................................................ · · · . · . · · · · · · · · · · · · · 17a           21, 231.
Infor-         b Investment expenses ......................................................................... 17b
mation
              c Dividend distributions paid from accumulated earnings and profits ............................... 17c
               d Other items and amounts
                 (attach statement)
Rec on-     18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ciliation           From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18               38, 728.
[Schedule L IBalance Sheets per Books                               Beginning of tax year                           End of tax year
                             Assets                              (a)                     (b)                   (c)                   (d)
   1 Cash ......................................                                               508.                                    18.005.
   2 a Trade notes and accounts receivable ........
     b Less allowance for bad debts ...............
   3 Inventories ................................
   4 U.S. government obligations ................
   5 Tax-exempt securities (see instructions).....
   6 Other current assets (attach stmt) .................
   7 Loans to shareholders......................                                      1. 061. 543.                                L 082. 774.
   8 Mortgage and real estate loans .............
   9 Other investments (attach statement) ...............
  lOa Buildings and other depreciable assets .......             113.548.                                      113.548.
     b Less accumulated depreciation .............               113 548.                                      113. 548.
  11 a Depletable assets ..........................
     b Less accumulated depletion ................
 12 Land (net of any amortization) ..............
 13 a Intangible assets (amortizable only) .........
     b Less accumulated amortization .............
 14 Other assets (attach stmt) ..... S.e~. St .. 2.                                     141,900.                                    141. 900.
 15 Total assets ...............................                                     1. 203. 951.                                1.242.679.
        Liabilities and Shareholders' Equity
 16 Accounts payable ..........................
 17 Mortgages, notes, bonds payable in less than 1 year ....
 18 Other current liabilities (attach stmt) ...............
 19 Loans from shareholders ...................
 20 Mortgages, notes, bonds payable in 1 year or more .....                          1,190,000.                                  1. 190. 000.
 21 Other liabilities (attach statement) .... S.ee.. S.t .. 3.                                    3.                                         3.
 22 Capital stock ..............................                                          20,000.                                     20.000.
23 Additional paid-in capital ...................
24 Retained earnings .........................                                            -6,052.                                     32.676.
25 Adjustments to shareholders' equity (att stmt) ........
26 Less cost of treasury stock .................
27 Total llablllties and shareholders' equity .....                                  l, 203, 951.                                1.242.679.
                                                                  SPSA0134L 12123/14                                          Form 11205 (2014)
                   Case 1-17-46613-nhl                               Doc 34-4                Filed 02/28/18                   Entered 02/28/18 16:52:02


               MERILL TRANSIT INC
Form 11205 (2013)                         XX-XXXXXXX                                                                                                                                       Page 4
Schedyle K__ Shareholders' Pro Rata Share Items (continued                                                                                                                  Total amount
Other         17 a Investment income . . . . . . . . . . . .....   . . .. .. .. .. .. .. .. . . .. .. .. . . . . . . .... .. . .. ....... 1--1_
                                                                                                                                              7_a.+------=2:....:0:...i....;8:....:l=-5::....:....
Infor-
mation            b Investment expenses . . . . . . . .            " . " . . . " .. .. .. .. . . . .. " . .. .. .. .. . . . . .. .. l--1_7_b. f - - - -- - -- -
                  c Dividend distributions paid from accumulated earnings and profi ts .. .. •...... . . . ... . ... . ........ . l 7 c
                                                                                                                                                          J--.,.-+--=---::----c--
                  d Other items and amounts
                    (attach statement)
Rccon-        18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 1n the far right column.
ciliation        From the result, subtract the sum of the amounts on lines 11 through 12d and lines 141 ......... ..                                        18                       20, 8 34 .
Stlledule        L.~    Balance Sheets er Books                                          Beginning of tax year                                          End of tax yea r
                              Assets                                                  (a)                    (b)                                 (c)                               (d)
                                                                                                                           488 . . ,..,
                                                                                                                        ...
  1    Cash...
  2 a Trade notes and accounts receivable. .                                                                               ::.

      b Less allowance for bad debts ..... . .
  3    Inventories. . . . . . . . . . . . . . . . . .... .. . .
  4    U.S. government obligations.
  5    Tax·exempt securities (see instructions). ... .
  6    Other currem assets (attac~ stmt) . .        ..... . . ..
  7    Loans to shareholders . . . . . . . . . . . . . ...                                                     1 040 728.                                                       1 061 543 .
  8    Mortgage and real estate loans . .
  9    Other investments (attach statement) . . .. . .
 10 a Buildings and other depreciable assets .. .. . . ~----"'1"'1""'3"-'-'5~4-'-""8-"".                                                        113 548 . .         4
                                                                                                                                                                        ·



    b Less accumulated depreciation.. . . . . . .              11 J 5 4 8 .                                                                     113 548.
11 a Depletable assets. . . . . . . . . . .         .. ........ .
  b Less accumulated depletion . . . . .. ... . ... . .                   1---- - -- - + - - - - - -- --+---=----=--:.,,.--,--,,.....,f-- - - - - - - -
12 Land (net of any amortization) ... .. . . . .
13a Intangible assets (amortizable only) . .. .•• . . . ~------_,
  b Less accumulated amortization . ......... . . . 1--------~--------1-----=-.__,,,.....,...-:-f.--------
14 Otherassets (attach stmt) .... . S.e.ei.S.t .. 2.             141 900.                      141 900.
 15 Total assets. . . . . . . . . . . . . . . . ..... .... .....          1-~~.,........:.~:,:..,-..::..:.+,---'l~l~8~3~1!:,,:1~6~.,_µ;~~~~'-'-='..,....,_-=t----=1"-W2"-'0"-'3"-'-'9""'5""1~.
      Liabi lities and Shareholders' Equity                                                                =. ~  ....,    :,
16     Accounts payable . . ... . . . . . .......... . . . .. .
17 Mortgages, notes, bonas payable in less than l year
18 Other current liabilities (attach stmt) . . . . . . . . . . . . . .
19 Loans from shareholders . ......... , .. . .... .
20 Mortgages, notes, bonds payable in 1 year or more . . . .                                                   1 190 000 .                                                      1 190 000 .
21     Other liabilities (attach statement) .. .. S.e e.. S.t     .. 3.                                                2.                                                               3.
22 Capital stock .. .. . . .. .. ..... . .... . .. .. . .. .                                                      20 000.                                                          20 000 .
23 Additional paid·in capital ...... . ... . . .. .. . .
 24 Retained earnings .. .. . . . ........ ... . . ... . .                                                         - 26                                                              -6 052.
 25 Adjustments to shareholders' equity (alt stmt} . . . . . ..
 26 Less cost of treasury stock . . .. . .. . ... . .... .
 27 Total liabilities and shareholders' equity .. .. .                                                         1183 116.                                                        1 203 951.
                                                                                         SPSA0134L 06/27113                                                                  Form 11 205 (2013)
      Case 1-17-46613-nhl              Doc 34-4         Filed 02/28/18        Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x:
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Ex:ecutors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to NY Canteen Tax:i
Corp. ("NY Canteen"), a loan or a series of loans in an amount equal to One Million Three
Hundred Five Thousand One Hundred Twenty Eight Dollars ($1,305,128.00) with interest
thereon from December 31, 2015.

      The facts forming the basis of this claim are described in the annex:ed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                 NY CANTEEN TAXI CORP., Claimant




                                                                 ~ttomey  for Claimant
                                                                 Piken & Piken
                                                                 630 Third Avenue, 23rd Floor
                                                                 New York, New York 10017
                                                                 (212) 682-5522
       Case 1-17-46613-nhl             Doc 34-4        Filed 02/28/18         Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x.
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x
STATEOFNEWYORK                       )
            .s                       ))
COUNTY OF                            .
                  ----~

        ESMA ELBERG, being duly sworn, deposes and says:

  I.    That I am the sole shareholder, officer and director of NY Canteen Tax.i Corp.

        (hereinafter referred to as "NY Canteen~') and I reside in Brooklyn, New York.

 2.     The annex.ed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

        "decedent"), is just and true and the decedent's debt is currently due.

 3.     Annex.ed hereto is a copy of Schedule L of the 2015 Corporate Tax. Return, where at Line

        15, it states a balance due at year-end of One Million Three Hundred Five Thousand One

        Hundred Twenty Eight Dollars ($1,305,128.00).

 4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax. Return, where at Line

        15, it states a balance due at year-end of One Million Two Hundred Forty Seven

        Thousand Nine Hundred Seventy Four Dollars ($1,247,974.00). This return was

        electronically signed by the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl           Doc 34-4      Filed 02/28/18   Entered 02/28/18 16:52:02



7.     No part of said claim has been paid and the full amount thereof in the sum of

       $1,305,128.00 is now actually due, together with interest thereon from December 31,

       2015 at the statutory rate.

8.     Claimant owes no security from the decedent or the decedent's Estate.




                                                              NY CANTEEN TAXI CORP. /
                                                              By: Esma Elberg




                  ROBERT W. Pll<EN       ,
         NOTARY PUBLIC, State of New York
                   No. XX-XXXXXXX
            Qualified in New York County IJ
       Commission Expires March 30, 20 _;._::_




                                                   2
                 Case 1-17-46613-nhl                      Doc 34-4    Filed 02/28/18                        Entered 02/28/18 16:52:02


Form 1120s (2015)        NY CANTEEN TAXI CORP.                   XX-XXXXXXX                                                                                 Page 4
!Schedule K         I Shareholders' Pro Rata Share Items (continued)                                                                      Total amount
Other         17 a Investment income. ........................................................................... 17a                              21, 340.
In for·          b Investment expenses ......................................................................... 17b
mati on
                 c Dividend distributions paid from accumulated earnings and profits ............................... 17c
                 d Other items and amounts
                   (attach statement)
Recon-  18 Income/loss reconciliation. Combine the amounts on lines 1 through 1O in the far right column.
cilia ti onFrom the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                                   -1,847.
!Schedule L IBalance Sheets per Books                        Beginning of tax year                            End of tax year
                 Assets                                   (a)                      (b)                    (c)                                    (d)
   1 Cash ......................................                                                  6.697.                                          15,273.
  2 a Trade notes and accounts receivable ........
    b Less allowance for bad debts ...............
  3 Inventories ................................
  4 U.S. government obligations ................
  5 Tax·exempt securities (see instructions) .....
  6 Other current assets (attach stmt) .................
  7 Loans to shareholders......................                                              L 067. 012.                                     L 088. 352.
  8 Mortgage and real estate loans .............
  9 other investments (attach statement) ...............
 lOa Buildings and other depreciable assets ......               81. 740.                                                      81. 740.
    b Less accumulated depreciation .............                81.740.                                                       81 740.
11 a Depletable assets..........................
    b Less accumulated depletion ................
12 Land (net of any amortization) ..............                                                                       .   .
13a Intangible assets (amortlzable only) .........
    b Less accumulated amortization .............
                                                                             ,.
14 Other assets (attach stmt) ..... S. e~. St .. 2.                                            201, 503.                                       201.503.
15 Total assets ...............................                                              1.275.212.                                      1.305.128.
                                                                                                                                                                :
        Liabilities and Shareholders' Equity                                                          . .                                              ..
16 Accounts payable ..........................                                                                                   ..
17 Mortgages, notes, bonds payable in less than 1 year ....                                                      ...
18 other current liabilities (attach stmt) ...............
19 Loans from shareholders ...................
20 Mortgages, notes, bonds payable in 1 year or more .....                                   1.210,000.                                      1. 241. 763.
21 Other liabilities (attach statement) .................
22 Capital stock ..............................                                                 31. 510.                                         31. 510.
23 Additional paid·in capital. ..................
24 Retained earnings .........................                                                  33,702.                                          31. 855.
25 Adjustments to shareholders' equity (att stmt) ........
26 Less cost of treasury stock .................
27 Total liabilities and shareholders' equitv .....                                          1, 275   212.                                  1. 305, 128.
                                                                 SPSA0134L        08/13/15                                                Form 11205 (2015)
                        Case 1-17-46613-nhl                Doc 34-4         Filed 02/28/18            Entered 02/28/18 16:52:02

/
    , /Form 11205 (2013)    NY CANTEEN TAXI CORP.                     XX-XXXXXXX                                                                      Page 4
      )Schedule K       I Shareholders' Pro Rata Share Items (continued)                                                               Total amount
      Other       17a Investment income ...........................................................................              17a            20,512.
      In for-
      mation        b Investment expenses .........................................................................              17b
                    c Dividend distributions paid from accumulated earnings and profits ...............................          17c
                    d Other items and amounts
                      (attach statement)
      Recon-       18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
      ciliation           From the result, subtract the sum of the amounts on lines 11 through l 2d and lines 141. .......... 18                  20,62B.
      fSchedule L I Balance Sheets per Books                              Beginning of tax year                                End of tax year
                                  Assets                               (a)                     (b)                       (c)                    (d)
         1 Cash ......................................                                                266.                                             3B2.
         2 a Trade notes and accounts receivable ........
           b Less allowance for bad debts................
         3 Inventories .................................
         4 U.S. government obligations ................
         5 Tax-exempt securities (see instructions) .....
         6 other current assets (attach stmt) ..................
         7 Loans to shareholders ......................                                     1.025.578.                                       1. 046. 090.
         8 Mortgage·and real estate loans ..............
         9 Other investments (attach statement) ................
        10 a Buildings and other depreciable assets.......              BL 740.                                           BL 740.
           b Less accumulated depreciation ..............               Bl. 740.                                          81. 740.
        11 a Depletable assets ..........................
           b Less accumulated depletion .................
       12 Land (net of any amortization)...............
       13a Intangible assets (amortizable only)..........
           b Less accumulated amortization ..............
       14 Other assets (attach stmt)......S<=.e ..St.. 2..                                    201. 504.                                         201. 502.
       15 Total assets ................................                                    l, 227 348 o
                                                                                                  I                                          1.247.974.
               Liabilities and Shareholders' Equity
       16 Accounts payable. ..........................
       17 Mortgages, notes, bonds payable in less than 1 year .....
       18 Other current liabilities (attach stmt) ................                                                        ...
                                                                                                                      l   ··-·




       19 Loans from shareholders ....................                                                               . .-
       20 Mortgages, notes, bonds payable in 1 year or more ......                         l, 210, 000.                                      1. 210. 000.
       21 Other liabilities (attach statement) .... Se~. St.. 3..                                         2.
       22 Capital stock ...............................                                         31, 510.                                         31.510.
       23 Additional paid-in capital. ...................
       24 Retained earnings ..... : ....................                                      -14.164.                                             6.464.
                                                                                                                           . .
       25 Adjustments to shareholders' equity (att stmt) .........
       26 Less cost of treasury stock ..................
      27 Total liabilities and shareholders' eQuity ......                                 1. 227, 348.                                      1. 24 7. 97 4.
                                                                        SPSA0134l 06/27/13                                                Form 11205 (2013)
      Case 1-17-46613-nhl              Doc 34-4         Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------:x
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                      Deceased.
-------------------------------------------------------------------------:x

To: TAMARA PEWZNER and REUBEN ELBERG, E:xecutors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to NY Energy Ta:xi
Corp. ("NY Energy"), a loan or a series of loans in an amount equal to One Million Three
Hundred Forty Five Thousand Two Hundred Ninety Si:x Dollars ($1,345,296.00) with interest
thereon from December 31, 2015.

      The facts forming the basis of this claim are described in the anne:xed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                 NY ENERGY TAXI CORP., Claimant




                                                                 Attorney for Claimant
                                                                 Piken & Piken
                                                                 630 Third Avenue, 23rd Floor
                                                                 New York, New York 10017
                                                                 (212) 682-5522
       Case 1-17-46613-nhl             Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
----------------------------------~--------------------------------------x
STATE OF NEW YORK                    )
                                     )
COUNTY OF             µjss           )

         ESMA ELBERG, being duly sworn, deposes and says:

  1.     That I am the sole shareholder, officer and director of NY Energy Taxi Corp. (hereinafter

         referred to as "NY Energy") and I reside in Brooklyn, New York.

  2.     The annexed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

         "decedent"), is just and true and the decedent's debt is currently due.

  3.     Annexed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Three Hundred Farty Five

         Thousand Two Hundred Ninety Six Dollars ($1,345,296.00).

  4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Two Hundred Fifty One Thousand

        Five Hundred Sixty Six Dollars ($1,251,566.00). This return was electronically signed by

        the decedent.

  5.    Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl        Doc 34-4       Filed 02/28/18   Entered 02/28/18 16:52:02




7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,345,296.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.




                                                            By: Esma Elberg




                   ROBERT W. Pll<F.N
          NOTARY PUBLIC, State of New York
                    No. 31 ~8373580
             Qualified in New York County
        Commission Expires March 30, 20
                                         /Xl
                                           ~
                                       ~·




                                                 2
                 Case 1-17-46613-nhl                       Doc 34-4            Filed 02/28/18               Entered 02/28/18 16:52:02


Form 11205 (2015)        l\1Y   ENERGY TAXI CORP                        XX-XXXXXXX                                                                              Page 4
!Schedule K         I Shareholders' Pro Rata Share Items (continued)                                                                             Total amount
Other       17a Investment income............................................................................ 17a                                         21,455.
In for-
mation        b Investment expenses ......................................................................... 17b
              c Dividend distributions paid from accumulated earnings and profits ............................... 17c
              d Other items and amounts                                                                                                     .,
                (attach statement)
Recon-  18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
cillation  From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                                          14,171.
!Schedule L IBalance Sheets per Books                        Beginning of tax year                            End of tax year
                 Assets                                   (a)                       (b)                   (c)                                           (d)
  1 Cash ......................................                                                        8. 621.                                           51. 599.
  2 a Trade notes and accounts receivable ........
    b Less allowance for bad debts ...............
  3 Inventories ................................
  4 U.S. government obligations................
  5 Tax-exempt securities (see Instructions).....
  6 Other current assets (attach stmt) .................
  7 loans to shareholders......................                                                1.072.739.                                           1.094,194.
  8 Mortgage and real estate loans .............
                                                                                                                 ..
  9 Other investments (attach statement) ...............
1Oa Buildings and other depreciable assets ......                        102, 641.                                             102, 641.
   b Less accumulated depreciation .............                         102. 641.                                             102.641.
11 a Depletable assets ..........................
   b Less accumulated depletion ................
12 Land (net of any amortization) ..............
13a Intangible assets (amortizable only) .........
   b Less accumulated amortization .............
14 Other assets (attach stmt) ..... S.e~. St .. 2.                                               199.502.                                             199,503.
                                                                                                                                   ;
15 Total assets ...............................                                                1,280.862.                                           1.345,296.
       Liabilities and Shareholders' Equity                                                            ..
                                                                   ..                              '


                                                                                                                      .
16 Accounts payable ..........................                                                                             .

                                                               I
17 Mortgages, notes, bonds payable in less than 1 year ....
                                                                                                                      ·•
18 Other current liabilities (attach stmt) ...............
19 Loans from shareholders ...................                                                                                         •,
20 Mortgages, notes, bonds payable in 1 year or more .....                                     L 210, 000.                                          L 241. 763.
21 Other liabilities (attach statement) .... S.ee.. S.t ..3.                                                                       :..                 21. 000.
22 Capital stock ..............................                                                   31. 510.                                             31, 510.
                                                                                 '·
23 Additional paid-in capital. ..... , ............
24 Retained earnings .........................                                                    39,352.                                               51 023.
25 Adjustments to shareholders' equity (att stmt).........
                                                                                 :
26 Less cost of treasury stock •................                                                                                  ..
27 Total liabilities and shareholders' equity .....                                            1.280,862.                                           1 345,296.
                                                                          SPSA0134L 08/13/15                                                     Form 11205 (2015)
                               Case 1-17-46613-nhl                                  Doc 34-4                               Filed 02/28/18           Entered 02/28/18 16:52:02
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r:·~.f~·---~~~
1--~·1.~~i

'~~;f~rm 1120S (2013)              NY ENERGY TAXI CORP          XX-XXXXXXX                                                                                                                                                                          Page 4
 _'~fTS~chedule            K . I Shareholders' Pro Rata Share Items (continued)                                                                                                                                              Total amount
··     Other            17a Investment income ............................ .'.............................................. 17a                20, 622.
       Infor-
       mation             b Investment expenses ......................................................................... 1--17_bof--------
                          c Dividend distributions paid from accumulated earnings and profits ............................... .,___17_c_ _ _ _ _ _ __
                          d Other items and amounts
                            (attach statement)                                                                                                                                                                                               ..
      ~iji~ti~-n
              18 Income/loss reconciliation. Combine the amounts on lines 1 through 1Oin the far right column. ·
                 From the result, subtract the sum of the amounts on lines l l through 12d and lines 141........... 18                 19, 699.
      ISchedule L IBalance Sheets per Books                        Beginning of tax year                             End of tax year
                       Assets                                   (a)                     (b)                      (c)                 (d)
         1 Cash......................................                                                                                               246. ·                           ''·.: ··                                                        360.
                                                                                                                                                                                                                                                  ,. . --·:::·.··I
         2 a Trade notes and accounts receivable ....... .
                                                                                    ---------t
           b Less allowance for bad debts............... .
                                                                                    1----------------1----------li-------------1----------
         3 Inventories ................................ .                                                                                                    ·:,~~-r;\·{~~~~;~ -., --------
         4 U.S. government obligations ............... .                                                                                                                            ~ _; ~-   ...... ·-~.
         5 Tax-exempt securities (see instructions) .... .
         6 Other current assets (attach stmt) ................. .
         7 Loans to shareholders ..................... .                                                                                   1. 031. 003.        ~-,~-~.;~(<·?~~- o: ,:,                                   _____1.. . ,.,__0__
                                                                                                                                                                                                                                           5__
                                                                                                                                                                                                                                             L_7. . . . o__5___.
         : ~~;:~:v:~e~~ ~::~c~:::t~em~~~~~::::::::::::::
       10a Buildings and other depreciable assets...... ·i----....;:;1;:..;:0;..:;;2;;..<•. . .;6"""'4; ;. ; l; ;. . "-1
                                                                                                                                  1------------1 .·:,;;.;:~~~~_>·~t\~::}.=~-~\. - - - - - - - -·,
                                                                                                                                                                                    102, 641.                                                                    l


          bLessaccum~ateddepreciation .............. ~--~1~0~1~~·6~0~4~·~~--~1~·~0~3~7~·~--~1~0;;;..;;2~,~6~4~1~.~------~
       11 a Depletable assets ..........................                        ./~-~~:-·.-,~;·
                                                                                    ----------t . ·,-·     '~-_:/    .-.i.
                                                                                                                           1
                                                                                                                                              ··-         1------------t _'._"                                                              ..
          bless accumulated depletion ................ ·~----------1----------t1--~--~-----1---------                                                         . -· ·.::.'   • _;_   :.: .... -~·       • "t   ~~ ~   •

       12 Land (net of any amortization).. . . . . . . . . . . . . .                  . ....- - - - - - - - - -
       13 a Intangible assets (amortizable only} ........ · - - - - - - - -                       - ·. ':, ~.·: ·:::'·;;_ ·;
         blessaccum~atedamort~at~n .............. ~------~--------~-~---~~~-------
       14 Other assets (attach stmt)......Se.e ..St.. 2..    199. 501.        199. 501.
       1s ~~1a~e~·-······························~~----~~-~1~·=2=3=1~·=8=6~7~·~---~-----~-~1~·-2~5_1_._s_6_6~.
                                                                                      .     .
            Liabilities and Shareholders' Equity
       16 Accounts payable.......................... .
       17 Mortgages, notes, bonds payable in less than 1 year .... .
                                                                                                                                                                            .)~;1.~~r-                        . :'. . _. ________
       18 Other current liabilities (attach stmt) ............... .
       19 Loans from shareholders ................... .
       20 Mortgages, notes, bonds payable in 1 year or rnore ..... . 1. 210. 000.                 1.210.000.
       21        Other liabilities (attach statement) ................. .                        :··.. :
                                                                                       -'   ~   ... (.     ,~   ...
       22        Capital stock .............................. .                                                                               31. 510.                                                                                     31. 510.
                                                                  ·~ "':,(>:-~_-:;:.' .
       23        Additional paid-in capital. .................. .
       24        Retained earnings ......................... .                        c:;J~~</·~.
                                                                                      <' /' . '.·                             .               -9,643.
       25 Adjustments to shareholders' equity (att stmt) ........ .
       26 Less cost of treasury stock. . . . . . . . . . . . . . . . . . '::~-:~~;:~ ·:. (: . _, .
       27 Total liabilities and shareholders' equity...... :':.·~·.>:·                     · .. · ·':                                      1. 231. 867.                                                                           l, 251. 566.
                                                                                                                      SPSA0134L 06/27/13                                                                                       Form 11205 (2013)
      Case 1-17-46613-nhl             Doc 34-4        Filed 02/28/18         Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to NY Genesis Taxi
Corp. (''NY Genesis"), a loan or a series of loans in an amount equal to One Million Three
Hundred Thirty Eight Thousand Eight Hundred Sixteen Dollars ($1,338,816.00) with interest
thereon from December 31, 2015.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                NY GENESIS TAXI CORP., Claimant


                                                                 -is ALI ~ Jf£&~
                                                                By: ESMA EtBERG
                                                                Title:




                                                                   orney for Claimant
                                                                Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl                Doc 34-4     Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           AFFIDAVIT IN SUPPORT
         a/Ida YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x
STATE OF NEW YORK                     )
                JI"'=.'s
COUNTY OF _____tv'----'+_._
                                     )
                                  ___,)
                           •


        ESMA ELBERG, being duly sworn, deposes and says:

  1.    That I am the sole shareholder, officer and director of NY Genesis Taxi Corp.

        (hereinafter referred to as "NY Genesis") and I reside in Brooklyn, New York.

 2.     The annexed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

        "decedent"), is just and true and the decedent's debt is currently due.

 3.     Annexed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million Three Hundred Thirty Eight

        Thousand Eight Hundred Sixteen Dollars ($1,3 3 8, 816. 00).

 4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million Two Hundred Sixty Three

        Thousand Three Hundred Sixty Eight Dollars ($1,263,368.00). This return was

        electronically signed by the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl         Doc 34-4       Filed 02/28/18   Entered 02/28/18 16:52:02



7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,338,816.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.




                                                             By: Esma Elberg




                       ROBERT W Pll<EN
                NOTARY PNUBLICI State o1 New York
                        .. o._ XX-XXXXXXX
                  .ou.a/1f1ed in New York County W
            Cornm1ss1on Expires March 30, 20 ~




                                                     2
                Case 1-17-46613-nhl                Doc 34-4         Filed 02/28/18           Entered 02/28/18 16:52:02


Form 1120s (2015)     NY GENESIS TAXI CORP                   XX-XXXXXXX                                                                     Page 4
ISchedul.e K I Shareholders' Pro Rata Share Items (continued)                                                                Total amount
Other       17 a Investment income...........................................................................         17a             21, 651.
In for·        b Investment expenses .........................................................................        17b
mation
               c Dividend distributions paid from accumulated earnings and profits .... ...........................   17c
               d Other items and amounts
                 (attach statement)
Rec on-     18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ciliation          From the result, subtract the sum of the amounts on lines 11 through 12d and 141 •............... 18                14, 221.
!Schedule L IBalance Sheets per Books                              Beginning of tax year                            End of tax year
                            Assets                              (a)                    (b)                    (c)                    (d)
  1 Cash ......................................                                            8.782.                                      33.115.
  2 a Trade notes and accounts receivable ........                                                                                               ;

    b Less allowance for bad debts ...............
  3 Inventories ................................
  4 U.S. government obligations ................
  5 Tax-exempt securities (see instructions).....
  6 Other current assets (attach stmt) .................
  7 Loans to shareholders......................                                      L 082. 550.                                  L 104, 201.
  8 Mortgage and real estate loans .............
  9 Other investments (attach statement) ...............
 10 a Buildings and other depreciable assets ......              77.548.                                       77.548.                           I

    b Less accumulated depreciation .............                77.548.                                       77.548.
 11 a Depletable assets..........................
    b Less accumulated depletion ................
 12 Land (net of any amortization) ..............                           ..
 13 a Intangible assets (amortizable only) .........
    b Less accumulated amortization .............
 14 Other assets (attach stmt) ..... Se~. St. .2.                                      201 500.                                      201. 500.
 15 Total assets ...............................                                     L 292,    832.                               L  338   816.
        Liabilities and Shareholders' Equity
                                                                 :                                         ..
 16 Accounts payable ..........................                                                                        ..
 17 Mortgages, notes, bonds payable in less than 1 year ....                                                       ..
 18 Other current liabilities (attach stmt) ...............                                                         '·
                                                              '
 19 Loans from shareholders ...................                                                     .t



 20 Mortgages, notes, bonds payable in 1 year or more .....                          1.210.000.                                   L 241. 763.
 21 Other liabilities (attach statement) .................
 22 Capital stock ..............................                                         29.980.                                      29 980.
 23 Additional pald·ln capital. ..................
 24 Retained earnings .........................                                          52.852.                                      67,073.
 25 Adjustments to shareholders' equity (att stmt).........
 26 Less cost of treasury stock .................
                                                                                     1.292.832.                                   l, 338, 816.
 27 Total liabilities and shareholders' equity .....
                                                                  SPSA0134L 08113/15                                           Form 11205 (2015)
                                 Case 1-17-46613-nhl                                   Doc 34-4     Filed 02/28/18             Entered 02/28/18 16:52:02

.~ ...~' 11 20s (2013)               NY        1~ 1.,,.NESIS     TAXI CORP                 11- 2906869                                                                                                   Page 4
~hedule K                    I Sh arc l•=:.l de rs' Pro R ata Sh are Items (continued)                                                                                              Total am ount
;-other            17 a lnvestmeni '' 1come ........................... . ...... . .... ... ....... . . ............ . .... . .... ..                                         17a                     20 . 810.
 Jn for-
                        b lnvestmenl •· <pcnses .. . . . . . ..... . . . .... . . . .... .... . .......... . . . ... .. . . ......... .. . . ... . .....                      17b
 ma lion
                        c Dividend di: lr'butions paid from accumulated earnings and profits .. ..... . .........• . ......... . ..                                           17c
                        d Olhcr item:: ~: nd amounts                                                                                                                                     ~   ·=- .       """'
                          (attach sta:-•ment)                                                                                                                                            - ,_.                           i
Re con-       Income/loss 1.:conciliation. Combine the amounts on lines 1 through 10 in the far right column.
                   18
cil iation    From the r.:·01.ll, sub tract the sum of the amounts on lines 11 through 12d and lines 141. .......... 18                                                                              20 , 916 .
! Sch edu le L I Balance ,11cets oer Books                        Beginning of tax year                             End of tax year
                     Ass• 1;;                                  (a)                     (b)                    (c)                                                                                (d)
     1   Cash .. . .... . . . ... . . .. . . . . ........... . ...                                                         438.                                                                          544 .
     2 a Trade notes and acc1"1:nls receivable ........                                                                                                                                                              :
    b Less allowance for D ' · ' clebts . ......... .. .
   3 Inventories. . . .. . . .... .. ..... . . . .. . . .. . . ..                                                                                            ~
                                                                                                                                                                  ,
   4 U.S. government ol:         '.ions . . ... . .... ... ...
   5 Tax -exernpl
   6
                              ~: .: cu r i l
           Other current a~~ ~:s (alt<.
                                                  _cc instructions) . .. .
                                                 :ml) ....... . ...... . . . .
                                                                                                                                                       -~

                                                                                                                                                         ....
  7       Loans to sharcholdC' · . . .. .. . . . .. . . . . . .. . . ..                                          1 040 514 .                                                                 1 061 324 .
  8       Mortgage and real c           :e loans .. . .• ... .....
  9       Othei investments (zllac!. . · •:::enl) ........... . .. ..
 10 a Buildings and other                       · rcciable assets. .. ... .                 77 54 8.                                                             77 548 .
         b Less accumulated ci-                 ·"cia tion ...... .. . . .. . .             77 548.                                                              77 548.
 11 a Depletable assets ..                       . .. ..........      . .. . . ..                                                                                                                                    '
         b Less accurnulalcd c!                   .''.Jn . . ..... . ... . • . . . .
 12   Land (net of any ar. . 7.ation) . . ... .. .......
                                                                                                                                                             .-
 13 a Intangible assets (ar. '1 l ;zable only). ....... . .
    b Less accumulated ar· :!ization . . ........ . . ..
                                                                                                                                                                                                                 .
 14 Other assets (attach · ·11). .....s~.e            2..            ..st..                                        201. 500.                e;    ~:
                                                                                                                                                                 --~~'t·
                                                                                                                                                                               .                 201 500 .
15 Total assets . .. . ... ... . · ··· · .... ........ .. .
                                                                                                                 1 242 ,452.                                 . .t:!:~                        1. 263 368 .
     Liabili ti es and Sh:i · .•1ldcrs' Equity                                                                                                   ...
                                                                                                                                                't:.:~...             ~



16 Accounts pay1blc..                      . ................ . .
                                                                                                                        . ..
                                                                                                                                        r
                                                                                                                                            ~
                                                                                                                                                   "~
                                                                                                                                                       ~              -:·''
                                                                                                                                                                       ..           ..   - ---                   J



17 Mortgages, note~. ~ands i           I ~ in less than 1 year ... ..
18 Other current li;ih;'itics (: ·· ·1 slml) ... .. ... . .. . ....                                                                                '
19 Loans from s'1::irchC': ' : s . .... . . . ..... . .... . .
20        r.lortgages, notes, h:nds ; ·.le in I year or more.· ... . .                                           1 210 000.                                                                  1 210 000 .
21        Olhe· Jiabilities (2:'.::=h s: · ·r.:) .... Se.e . St .. 3. .
                                                                                                                               1.                                                                           1.
22        Capital stock . . . . .. .       . . . . . . . . ... . . . . . . . .. .                                   29 980.                            ...                                           29 98 0.
23 Additional paid-in c: . ' I. ........... . . . .....
24 Retained earnings.                . .. . ... . . . ... . . . . ..                                                 2. 471.                                                                         23 387 .
25 Ad1ustments lo sharehol · r: .:::1ity (alt stmt) . . . .. ... .                                                                                                 ..
26 Less cost of lreasur} " 1ck . ..... . ........ .. .
27 Total liabilities and s' · ' holders' equity . . .. . .
                                                                                                                 1 242 452 .                      ..    t.
                                                                                                                                                                                          1 263 368 .
                                                                                            SPSA0134L 06/27113                                                                      Form 11 205 (2013)




                                                                                                                                                                                                                             I·
                                                                                                                                                                                                                             j.
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to NY Stance Taxi
Corp. ("NY Stance"), a loan or a series of loans in an amount equal to One Million Two Hundred
Forty Eight Thousand Four Hundred Six Dollars ($1,248,406.00) with interest thereon from
December 31, 2015.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                NY STANCE TAXI CORP., Claimant




                                                                Attorney for Claimant
                                                                Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl               Doc 34-4      Filed 02/28/18         Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------}{
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------}{
STATE OF NEW YORK                    )
                                     )
COUNTY OF             t}]_s
                      I
                                     )

         ESMA ELBERG, being duly sworn, deposes and says:

  1.     That I am the sole shareholder, officer and director of NY Stance Ta:xi Corp. (hereinafter

         referred to as "NY Stance") and I reside in Brooklyn, New York.

  2.     The anne:xed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

         "decedent"), is just and true and the decedent's debt is currently due.

  3.    Anne:xed hereto is a copy of Schedule L of the 2015 Corporate Ta:x Return, where at Line

         15, it states a balance due at year-end of One Million Two Hundred Forty Eight

        Thousand Four Hundred Si:x Dollars ($1,248,406.00).

 4.     Also attached is a copy of Schedule L of the 2013 Corporate Ta:x Return, where at Line

         15, it states a balance due at year-end of One Million One Hundred Eighty One Thousand

        Forty Five Dollars ($1,181,045.00). This return was electronically signed by the

        decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl          Doc 34-4       Filed 02/28/18   Entered 02/28/18 16:52:02



7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,248,406.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.




                    ROBERT W. PJl<EN
          NOTARY PUBLIC, State of New York
                     No. 31 M8373580
            .au.alitied in New York County U')
       Comm1ss1on Expires March 30 20 / ·J
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              Case 1-17-46613-nhl                 Doc 34-4          Filed 02/28/18                Entered 02/28/18 16:52:02


Form 11205 (2015)     NY STANCE TAXI CORP                   XX-XXXXXXX                                                                       Page 4
!Schedule K      I Shareholders' Pro Rata Share Items (continued)                                                             Total amount
Other       17a Investment income............................................................................ 17a                       18,668.
In for·       b Investment expenses ......................................................................... 17b
mation
              c Dividend distributions paid from accumulated earnings and profits ............................... 17c
              d Other items and amounts                                                                               ..
                (attach statement)
Recon-       18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ciliation          From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                     11,795.
!Schedule L IBalance Sheets per Books                                    Beginning of tax year                            End of tax year
                             Assets                                   (a)                    (b)                    (c)                   (d)
   1 Cash ......................................                                                 8.468.                                     30.858.
   2 a Trade notes and accounts receivable ........
      b Less allowance for bad debts ...............
   3 Inventories ................................
   4 U.S. government obligations ................
   5 Tax-exempt securities (see instructions).....
   6 Other current assets (attach stmt) .................
   7 Loans to shareholders. .....................                                            933.380.                                     952.048.
   8 Mortgage and real estate loans .............
   9 Other investments (attach statement) ...............                                                 ..
  10a Buildings and other depreciable assets ......                    82.857.                                       82.857.
     b Less accumulated depreciation .............                     82.857.                                       82 857.
  11 a Depletable assets..........................
     b Less accumulated depletion ................
 12 Land (net of any amortization) ..............
 13a Intangible assets (amortizable only) .........
     b Less accumulated amortization .............
 14 Other assets (attach stmt) ..... S.e~. St.. 2.                                           265.500.                                     265.500.
 15 Total assets ...............................                                          l, 207 348 •
                                                                                              I                                        1.248.406.
         Liabilities and Shareholders' Equity                                                                                                     I

 16 Accounts payable .......................... I                 ' .
                                                                   ..
                                                                                                                        '
 17 Mortgages, notes, bonds payable in less than 1year ....     :                                         ..
 18 Other current liabilities (attach stmt) ............... . .
19 Loans from shareholders ...................
 20 Mortgages, notes, bonds payable in 1 year or more .....                              l, 210, 000.                                  L 241. 763.
21 Other liabilities (attach statement) .................                                                      .
22 Capital stock ..............................                                                   223.                                        223.
23 Additlonal paid-in capital ...................
24 Retained earnings .........................
                                                                                                                 ..
                                                                                              -2,875.                                       6.420.
25 Adjustments to shareholders' equity (att stmt) ........
26 Less cost of treasury stock .................
27 Total liabilities and shareholders• equity .....                                      l, 207 348 •
                                                                                          I                                            1.248.406.
                                                               SPSA0134L 08/131l5                                             Form 1120s (2015)
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                          NY STANCE TAXI CORP                       XX-XXXXXXX                                                                                ?age 4
                                                                                                                                                                 ~




,(Sch edule K       I Shareholders' Pro Rata         Share Item s (continued)                                                                  Total amount
Other        17 a Investment income . .......... . . ......... .. ..... .. ... .. ... . ........... . . . .... . ... . . .. .. .. . .   17a            17 , 943.
In for-
mation          b Investment expenses .......... .. ... . . .. . ... .. . .. . . .. .. .. ...... . .... .......... . . . . .. .. . ..   17 b
                c Dividend distributions paid from accumulated earnings and profits ..            .. ............. .............        17c
                d Other items and amounts
                  (attach statement)
Rccon-   18 Income/loss reconciliation. Combine the amounts on lines i through i 0 in the far right column.
ci liation  From the result, subtract the sum of the amounts on lines 11 through 12d and lines 141. ... . ...... 18                                    16,760 .
!Schedul e L I Balance Sheets per Books                       Beginning of tax year                             End of lax year
                   Assets                                  (a)                       (b)                    (c)                                      (d)
 1 Cash ... ......... .... . . . .. . ... .. . . . . . .. . . .                                       1 650.                                                  467 .
 2 a Trade notes and accounts receivable ........
   b Less allowance for bad debts... . . . . . . . . . . . .
 3 Inventories....... . . . . . . . . . . . ............
 4 U.S. government obligations .. . . . . . . . . . . . .
 5 Tax-exempt securities (see instructions) .....
 6 Other current assets (attach stmt) .. ... . . ...........
 7 Loans to shareholders ..... . . ..... . . . . • . ....                                         897 . 135.                                         915 078.
 8 Mortgage and real estate loans .. . .. .. .. . ...
 9 Other investments {attach statemerit) ........ . ... .. ..
10 a Buildings and other depreciable assets.......                       82 857 .                                              82 857 .
   b Less accumulated depreciation . . ..... .. ... ..                   82 857 .                                              82 857 .
11 a Depletable assets ....... .. .................
   b Less accumulated depletion . . ...... .........
12 Land (net of any amortization)...... ..... ....
13 a Intangible assets (amortizable only).... . ... ..
   b Less accumulated amortization . .. . . . . .. . . . ..
14 Other assets (attach stmt)......S~.e ..St.. 2..                                                265 500 .                                         265 500 .
15 Total assets ...... ........ . .... ............                                             1 164 285 .                                       1 181 045.
     Li abilities and Shareholders' Equity
16 Accounts payable..... ........... . . . .. ... . ..
17 Mortgages, notes, bonds payable in less than 1 year .. .. .
18 Other current liabilities (attach stmt) .... . ..........
19 Loans from shareholders . ...... . .. . . ..... . ..
20 Mortgages, notes, bonds payable in 1 year or more .... . .                                   1 210 000 .                                       1 210 000.
21 Other liabili\ies (attach statement) .................
22 Capital stock . . ... . ..... ... .. . .. . .. • .. .. ..• .                                          223 .                                                223 .
23 Additional paid·in capital. . . .. . . . ...• . .. . ....
24 Retained earnings . ........ . ... . ...... . . . .. .                                         -45 938 .                                          -2 9 178.
25 Adjustments to shareholders' equity (att stmi) .........
26 Less cost of treasury stock . . ..... . ...... ....
27 Total liabilities and shareholders' equity ......                                            1 164 285.                                        1 181 045 .
                                                                         SPSAO l 34L 06/27113                                                  Form 11 205 (2013)
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18         Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------}(
In the Matter of the Estate of:                                                   File No.: 2014-46

         JACOB ELBERG                                                             NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                      Deceased.
-------------------------------------------------------------------------}(

To: TAMARA PEWZNER and REUBEN ELBERG, E"Xecutors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to NY Tint Ta"Xi Corp.
("NY Tint"), a loan or a series of loans in an amount equal to One Million Two Hundred Thirty
Thousand Two Hundred Seventy Three Dollars ($1,230,273.00) with interest thereon from
December 31, 2015.

      The facts forming the basis of this claim are described in the anne"Xed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                 NY TINT TAXI CORP., Claimant


                                                                  l    <Ill <'4
                                                                 By: isMA ELBERG
                                                                                    li1z ~      (/
                                                                 Title:




                                                                "Attorney for Claimant
                                                                 Piken & Piken
                                                                 630 Third Avenue, 23rd Floor
                                                                 New York, New York 10017
                                                                 (212) 682-5522
       Case 1-17-46613-nhl               Doc 34-4      Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x
STATE OF NEW YORK                    )
                        l I :s;      )
COUNTY OF~~~___..~~)

         ESMA ELBERG, being duly sworn, deposes and says:

  1.    That I am the sole shareholder, officer and director ofNY Tint Taxi Corp. (hereinafter

        referred to as "NY Tint") and I reside in Brooklyn, New York.

 2.     The annexed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

        "decedent"), is just and true and the decedent's debt is currently due.

 3.     Annexed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million Two Hundred Thirty Thousand

        Two Hundred Seventy Three Dollars ($1,230,273.00).

 4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million One Hundred Sixty Five Thousand

        Two Hundred Eighteen Dollars ($1,165,218.00). This return was electronically signed by

        the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
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7.     No part of said claim has been paid and the full amount thereof in the sum of

       $1,230,273.00 is now actually due, together with interest thereon from December 31,

       2015 at the statutory rate.

8.     Claimant owes no security from the decedent or the decedent's Estate.



                                                                 ls /VI P1 {lh crt.a/.
                                                             NY TINT TAXI C      7tJ
                                                                                   .
                                                             By: Esma Elberg




                       ROBERT W Pll<EN
             NOTARY PNUBUC, State of New York
                      .. o. XX-XXXXXXX
               .au.allf1ed in New York c V ~
          Comm1ss1on Expires March 30~~i~




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                 Case 1-17-46613-nhl                            Doc 34-4    Filed 02/28/18          Entered 02/28/18 16:52:02


Form 11205 (2015)         NY TINT TAXI CORP                        XX-XXXXXXX                                                                       Page 4
ISchedule K I Shareholders' Pro Rata Share Items (continued)                                                                         Total amount
Other       17 a Investment income............................................................................ 17a                           18,455.
In for-
mation         b Investment expenses .........................................................................              17b
               c Dividend distributions paid from accumulated earnings and profits ...............................          17c
                                                                                                                                                                !
               d Other items and amounts
                 (attach statement)                                                                                                                             I



Recon-  18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ciliation  From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                                  7 f 981.
!Schedule L IBalance Sheets per Books                        Beginning of tax year                            End of tax year
                 Assets                                   (a)                      (b)                    (c)                              (d)
  1 Cash ......................................                                                10. 291.                                      29.080.
  2 a Trade notes and accounts receivable ........
    b Less allowance for bad debts ...............
  3 Inventories ................................
  4 U.S. government obligations ................
  5 Tax-exempt securities (see instructions).....
  6 Other current assets (attach stmt) .................
  7 Loans to shareholders......................                                               922.738.                                     941.193.
 8 Mortgage and real estate loans .............
 9 Other investments (attach statement) ....... .......
10a Buildings and other depreciable assets ......                     113.548.                                      113,548.                                I

   b Less accumulated depreciation .............                      113.548.                                      113,548.
11 a Depletable assets ..........................
   b Less accumulated depletion ................
12 Land (net of any amortization) ..............
13a Intangible assets (amortlzable only) .........                                                                                                          :
   b Less accumulated amortization .............
14 Other assets (attach stmt) ..... Se~ . .S.t.. 2.                                           260.000.                                    260.000.
15 Total assets ...............................                                             1.193.029.                                  1.230.273.
       Liabllltles and Shareholders' Equity
16 Accounts payable ..........................
                                                                                                                          ,·.
17 Mortgages, notes, bonds payable in less than 1 year ....
                                                                                                                     ,.
18 other current liabilities (attach stmt) ...............
19 Loans from shareholders ...................
20 Mortgages, notes, bonds payable in 1 year or more .....                                  1.210.000.                                  1. 241. 763.
21 Other liabilities (attach statement) .... S.ee.. S.t .. 3.                                       1.                          ..                1.
22 Capital stock ..............................                                                10.000.                                      10,000.
23 Additional paid-in capital. ..................                                                         -.
24 Retained earnings .........................                                                -26.972.                                     -21. 491.
25 Adjustments to shareholders' equity (art stmt} ........
26 Less cost of treasury stock .................                            ..                                 ..
27 Total liabilities and shareholders' equity .....                                         1.193.029.                                  1.230.273.
                                                                       SPSA0134L 08/13115                                            Form 11205 (2015)
                  Case 1-17-46613-nhl                     Doc 34-4     Filed 02/28/18         Entered 02/28/18 16:52:02

rorm 11205 (2013)        NY TINT TAXI CORP                     XX-XXXXXXX                                                                                                       Page 4
{Schedule K        l Shareholders' Pro Rata Share Items (continued)                                                                                              Total amount
Other       17 a Investment income .................. , ........................................................                                           17a            17,738.
lnfor-         b Investment expenses .........................................................................                                             17b
mation
               c Dividend distributions paid from accumulated earnings and profits ...............................                                         17c
               d Other items and amounts
                 (attach statement)                                                                                                                                                        1




Re con- 18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ciliation  From the result, subtract the sum of the amounts on lines 11 through 12d and lines 141 ........... 18                                                          17,854.
rschedule L IBalance Sheets per Books                        Beginning of tax year                            End of tax year
                 Assets                                   (a)                       (b)                   (c)                                                            (d)
  1 Cash .... , .................................                                             457.                                                                              573.
  2 a Trade notes and accounts receivable ........
    b Less allowance for bad d~bts................
  3 Inventories .................................
  4 U.S. government obligations ................
  5 Tax-exempt securities (see instructions) .....
  6 Other current assets (attach stmt) ..................                                                                                       r.         ..
                                                                                                                 ...   ·~   >




  7 Loans to shareholders ......................                                                                                                "
                                                                                          886 907.                                                                       904.645.
  8 Mortgage and real estate loans ..............                                                     ..                             ''

  9 Other investments (attach statement) ................                                                                       ..
                                                                                                                                                                                       :
 10 a Buildings and other depreciable assets.......               113,548.                                       113.548.
    b Less accumulated depreciation ..............                113.548.                                       113.548.                                                              I
 11 a Depletable assets ..........................                                                                                                                                     ;


    b Less accumulated depletion .................
 12 Land (net of any amortization)...............
13 a Intangible assets (amortizable only} .........
    b Less accumulated amortization ..............
14 Other assets (attach stmt). .....Se.e ..St.. 2..                                       260.000.                                                                    260,000.
15 Total assets ................................                                        1.147.364.                              ..                                  1.165,218.
        Liabilities and Shareholders' Equity                                                                                                -.
16 Accounts payable...........................                                                              ..
                                                                                                               .>      ~

17 Mortgages, notes, bonds payable in less than l year .....                                                ..                  !"•


18 Other current liabilities (attach stmt) ................                                            .-                                   .       . "~
                                                                                                                                .~   ·,,-

19 Loans from shareholders ....................
20 Mortgages, notes, bonds payable in 1 year or more......                              1.210.000.                                                                  l,   210. 000.
21 Other liabilities (attach statement) .... Se.e .'St.. 3..
                                                                                                2.                                                                              2.
22 Capital stock ...............................                                           10.000.                                                                        10.000.
23 Additional paid-in capital. ...................
24 Retained earnings ..........................                                           -72,638.                                                                       -54.784.
25 Adjustments to shareholders' equity (att stmt) .........
26 Less cast of treasury stock ..................
27 Total liabilities and shareholders' equity ......                                    l,147.364.                                                                  1.165, 218.
                                                                   SPSA0134L 06/27113                                                                            Form 11205 (2013)
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Somyash Taxi Inc.
("Somyash"), a loan or a series of loans in an amount equal to One Million Three Hundred Nine
Thousand Five Hundred Twenty Eight Dollars ($1,309,528.00) with interest thereon from
December 31, 2015.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                SOMYASH TAXI, INC., Claimant




                                                               !Attorney for Claimant
                                                                Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl               Doc 34-4      Filed 02/28/18         Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------}{
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------}{
STATE OF NEW YORK                    )

COUNTY OF             t>is           )
                                     )

         ESMA ELBERG, being duly sworn, deposes and says:

  1.     That I am the sole shareholder, officer and director of Somyash Taxi, Inc. (hereinafter

         referred to as "Somyash") and I reside in Brooklyn, New York.

  2.     The anne}{ed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

         "decedent"), is just and true and the decedent's debt is currently due.

  3.     Anne}{ed hereto is a copy of Schedule L of the 2015 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Three Hundred Nine Thousand Five

         Hundred Twenty Eight Dollars ($1,309,528.00).

  4.     Also attached is a copy of Schedule L of the 2013 Corporate Ta}{ Return, where at Line

         15, it states a balance due at year-end of One Million Two Hundred Fifty One Thousand

         Twenty Nine Dollars ($1,251,029.00). This return was electronically signed by the

        decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl          Doc 34-4        Filed 02/28/18   Entered 02/28/18 16:52:02




7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,309,528.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.                    .,,..


                                                               sf~j® TAJ!fcfr!c09//
                                                               By: Esma Elberg


                                        6




                   ROBERT W. Pll<EN
           NOTARY PUBLIC, State of New York
                     No. 31~8373580
              Qualified in New York County t<J
         Commission Expires March 30, 20 _f_A._




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                 Case 1-17-46613-nhl                       Doc 34-4                  Filed 02/28/18          Entered 02/28/18 16:52:02


 Form 11205 '2015)        SOMYASH TAXI INC                       XX-XXXXXXX                                                                             Page 4
fSc;hedule 'K        I Shareholders' Pro Rata Share Items (continued)                                                                    Total amount
 Other       17 a Investment income. ................................................................ · . · · · · · · · · ·        17a            21. 435.
 In for·        b Investment expenses .........................................................................                    17b
 mation
                c Dividend distributions paid from accumulated earnings and profits ...............................                17c
                d Other items and amounts
                  (attach statement)
Recon·  18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
clliation  From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                                         821.
!Schedule L IBalance Sheets per Books                        Beginning of tax year                            End of tax year
                 Assets                                   (a)                      (b)                    (c)                                   (d)
   1 Cash ......................................                '.
                                                                                                          5.213.                                  16.362.
   2 a Trade notes and accounts receivable ........
     b Less allowance for bad debts ...............
   3 Inventories .......................... .. .. .
   4 U.S. government obligations ... . .. .... .. .. .
   5 Tax-exempt securities (see instructions).....
   6 other current assets (attach stmt) .................
   7 Loans to shareholders......................                                                    L 071. 731.                              1.093.166.
   8 Mortgage and real estate loans .............
   9 other investments (attach statement) ...............
  10a Buildings and other depreclable assets ......                            99.897.                                 99.897.
    b Less accumulated depreciation .............                              99,897.                                 99.897.
 11 a Depletable assets ..........................
    b Less accumulated depletion ................
 12 Land (net of any amortization) ..............                               ..                                             ...
 13a Intangible assets (amortizable only) .........                                                                                                           !
    b Less accumulated amortization .............
 14 Other assets (attach stmt) ..... Se~ . .St.. 2.                                                   200 000.                                  200.000.
 15 Total assets ...............................                                                    L 276. 944.                             1. 309. 528.
        Liabilities and Shareholders' Equity
 16 Accounts payable ..........................                                                                               •.


 17 Mortgages, notes, bonds payable in less than 1year ....
18 Other current liabilities (attach stmt) ...............
19 Loans from shareholders ...................
20 Mortgages, notes, bonds payable in 1 year or more .....                                          1.210 000.                              L 241. 763.
21 Other liabilities (attach statement) .... S.ee.. S.t .. 3.                                                 1.                                         1.
22 Capital stock ..............................                                                          3.000.                                   3.000.
23 Additional paid-in capital. ..................
24 Retained earnings .................•.......                                                         63.943.                                  64.764.
25 Adjustments to shareholders' equity (att stmt) ........
26 Less cost of treasury stock .................                      ..
27 Total liabllities and shareholders' eouitv .....              ·.
                                                                           "
                                                                                                    1. 276, 944.                           1. 309. 528.
                                                                               SPSA0134L 08/13115                                        Form 11205 (2015)
                             Case 1-17-46613-nhl                        Doc 34-4   Filed 02/28/18          Entered 02/28/18 16:52:02
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t~:=--··          .
f". Form 11205 (2013) SOMYASH TAXI INC     XX-XXXXXXX                                                                                              Page 4
   ISdiedule K I Shareholders' Pro Rata Share Items (continued)                                                                     Total amount
       Other          17a Investment income ...........................................................................       17a           20,602.
       Infor-
       mation           b Investment expenses .............................. : ..........................................     17b
                        c Dividend distributions paid from accumulated earnings and profits ...............................   17c
                        d other items and amounts
                          (attach statement)
      Re con-         18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
      ciliation           From the result, subtract the sum of the amounts on lines 11 through 12d and lines 141. .......... 18               20,493.
     ISchedule L IBalance Sheets per Books                                Beginning of tax year                             End of tax year
                                Assets                                 (a)                    (b)                     (c)                   (d)
          1 Cash ............................... ... ' ...                                                421.                                     312.
          2 a Trade notes and accounts receivable . .. . ' ...
            b Less allowance for bad debts......... . . .. . . .
          3 Inventories .................................
          4 U.S. government obligations ................
          5 Tax-exempt securities (see instructions) .....
          6 Other current assets (attach stmt) ..................
          7 Loans to shareholders ......................                                           1.030.115.                           l,050.717.
          8 Mortgage and real estate loans ..............
          9 Othei investments (attach statement) ................
         10 a Buildings and other depreciable assets.......                   99.897.                                     99.897.
            b Less accumulated depreciation ..............                    99.897.                                     99.897.
         11 a Depletable assets ..........................
            b Less accumulated depletion .................
         12 Land (net of any amortization)...............
         13a Intangible assets (amortizable only)..........
            b Less accumulated amortization ..............
         14 Other assets (attach stmt)......S~.e ..St.. 2..                                          200.000.                              200.000.
         15 Total assets ................................                                          1.230.536.                          1. 251. 029.
                Liabilities and Shareholders' Equity                                                                                                 -
         16 Accounts payable. ..........................
         17 Mortgages, notes, bonds payable in less than 1 year .....
         18 Other current liabilities (attach stmt) ................
         19 Loans from shareholders ....................
         20 Mortgages, notes, bonds payable in 1 year or more ......                               1. 210. 000.                        1. 210, 000.
         21 Other liabilities (attach statement) .... See . St.. 3..                                         1.                                  1.
         22 Capital stock ...............................                                              3.000.                                 3.000.
         23 Additional paid-in capital. ...................
         24 Retained earnings ..........................                                              17.535.                               38.028.
         25 Adjustments to shareholders' equity (att stmt) .........
         26 Less cost of treasury stock ..................
         27 Total liabilities and shareholders' equity ......                                      1.230.536.                          1. 251. 029.
                                                                              SPSA0134L 06/27/13                                     Form 11205 (2013)
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02



STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Spindle Trans
Corp. ("Spindle"), a loan or a series of loans in an amount equal to One Million Two Hundred
Sixty Two Thousand Nine Hundred Thirty Nine Dollars ($1,262,939.00) with interest thereon
from December 31, 2014.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                SPINDLE TRANS CORP., Claimant




                                                                Attorney for Claimant
                                                                Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl               Doc 34-4      Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------x
STATEOFNEWYORK                        )
             LL~:
COUNTY OF _,___
              ________.)             )
                      I

        ESMA ELBERG, being duly sworn, deposes and says:

  1.    That I am a shareholder, officer and director of Spindle Trans Corp. (hereinafter referred

        to as "Spindle") and I reside in Brooklyn, New York.

 2.     The annexed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

        "decedent"), is just and true and the decedent's debt is currently due.

 3.     Annexed hereto is a copy of Schedule L of the 2014 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million Two Hundred Sixty Two Thousand

        Nine Hundred Thirty Nine Dollars ($1,262,939.00).

 4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

        15, it states a balance due at year-end of One Million Two Hundred Twenty Five

        Thousand One Hundred Ninety Dollars ($1,225,190.00). This return was electronically

        signed by the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl          Doc 34-4        Filed 02/28/18   Entered 02/28/18 16:52:02



7.     No part of said claim has been paid and the full amount thereof in the sum of

       $1,262,939.00 is now actually due, together with interest thereon from December 31,

       2014 at the statutory rate.

8.     Claimant owes no security from the decedent or the decedent's Estate.




                                                               By: Esma Elberg




                       ROBERT W PIKEN
             NOTARY PUBLIC, State of New York
                        No. XX-XXXXXXX
          Comm1ss1on Expires March 30, 2l_ d
               .ou.alified in New York Count
                                              l




                                                    2
                 Case 1-17-46613-nhl                           Doc 34-4    Filed 02/28/18             Entered 02/28/18 16:52:02


Form 11205 (2014)        SPINDLE TRANS CORP                        XX-XXXXXXX                                                             Page 4
!Schedule K         I Shareholders' Pro           Rata Share Items (continued)                                             Total amount
Other       17 a Investment income............................................ ........................... .... '    17a             20,493.
In for-
mation         b Investment expenses .................................... ........................ ······ ......     17b
               c Dividend distributions paid from accumulated earnings and profits ...............................   17c
               d Other items and amounts
                 (attach statement)
Recon-  18 Income/loss reconciliation. Combine the amounts on lines 1 through 1O in the far right column.
ciliation  From the result, subtract the sum of the amounts on lines 11 through 12d and 141 ................ 18                      37,749.
!Schedule L IBalance Sheets per Books                        Beginning of tax year                            End of tax year
                 Assets                                   (a)                      (b)                    (c)                      (d)
  1 Cash ......................................                                                      521.                           17.777.
  2 a Trade notes and accounts receivable ........
    b less allowance for bad debts ...............
  3 Inventories ................................
  4 U.S. government obligations ................
  5 Tax-exempt securities (see instructions) .....
  6 Other current assets (attach stmt) .................
  7 Loans to shareholders......................                                              1 024,669.                       1. 045, 162.
  8 Mortgage and real estate loans .............
  9 Other investments (attach statement) ...............
10 a Buildings and other depreciable assets ......                    84,000.                                   84,000.
   b Less accumulated depreciation .............                      84.000.                                   84.000.
11 a Depletable assets ..........................
   b Less accumulated depletion ................
12 Land (net of any amortization) ..............
13a Intangible assets (amortizable only) .........
   b Less accumulated amortization .............
14 Other assets (attach stmt) ..... S.ee. S.t.. 2.                                             200,000.                         200.000.
15 Total assets ...............................                                              1 225,190.                       1,262.939.
       Liabilities and Shareholders' Equity
16 Accounts payable ..........................
17 Mortgages, notes, bonds payable in less than 1 year ....
18 Other current liabilities (attach stmt) ...............
19 Loans from shareholders ...................
20 Mortgages, notes, bonds payable in 1 year or more .....                                   1.190.000.                       l,   190 000.
21 Other liabilities (attach statement) .... S.ee.. S.t ..3.                                           1.                                   1.
22 Capital stock ..............................                                                 21, 000.                            21, 000.
23 Additional paid-in capital. ..................
24 Retained earnings .........................                                                  14,189.                             SL 938.
25 Adjustments to shareholders' equity (att stmt} ........
26 Less cost of treasury stock .................
27 Total liabilities and shareholders' equity .....                                          1. 225 .190.                     L 262, 939.
                                                                      SPSA0134L   12123/14                                 Form 1120S (2014)
                    Case 1-17-46613-nhl                    Doc 34-4      Filed 02/28/18           Entered 02/28/18 16:52:02

· Form 11205 (2013)       SPINDLE TRANS CORP                      XX-XXXXXXX                                                                              Page 4
  IS»hedule K        I Shareholders' Pro Rata Share Items (continued)                                                                      Total amount
..-Other      17 a Investment income ...........................................................................                     17a           20.092.
   In for-       b Investment expenses .........................................................................                     17b
   mation
                 c Dividend distributions paid from accumulated earnings and profits .. ." ............................              17c
                 d Other items and amounts
                   (attach statement)
  Re con-18 lncomenoss reconciliation. Combine the amounts on lines 1 through l 0 in the far right column.
  ciliation From the result, subtract the sum of the amounts on lines 11 through 12d and lines 141. .......... 18                20,                      112.
 !Schedule L IBalance Sheets per Books                       Beginning of ta">:C year                          End of tax year
                  Assets                                  (a)                       (b)                    (c)                 (d)
   1 Cash ......................................                                                  501.                                                    521.
   2 a Trade notes and accounts receivable. ........
     b Less allowance for bad debts................
   3 Inventories .................................
   4 U.S. government obligations ................
   5 Tax-exempt securities (see instructions) .....
                                                                                                                        "
   6 Other current assets (attach stmt) ..................
   7 Loans to shareholders ......................                                         1. 004. 577.                                        1. 024. 669.
   8 Mortgage and real estate loans ..............
   9 Other investments (attach statement) ................
  10 a Buildings and other depreciable assets.......                 84.000.                                                 84.000.
     b Less accumulated depreciation ..............                  84.000.                                                 84.000.
  11 a Depletable assets ..........................
     bless accumulated depletion .................
  12 Land (net of any amortization). ..............
  13a Intangible assets (amortizable only). .........
                                                                                                                                                                 '
     b Less accumulated amortization ..............
  14 Other assets (attach stmt)......Se.e ..St.. 2..                                        200.000.                                            200.000.
 15 Total assets ................................                                         1,205.078.                                          1.225.190.
        Liabilities and Shareholders' Equity
 16 Accounts payable...........................                                                                                  .   .

 17 Mortgages, notes, bonds payable in less than l year .....
 18 Other current liabilities (attach stmt) ................
 19 Loans from shareholders....................
                                                              -
 20 Mortgages, notes, bonds payable in 1 year or more......                               1, 190. 000.                                        1.190.000.
 21 Other liabilities (attach statement) .... See. St.. 3..                                        1.                                                  1.
 22 Capital stock ...............................                                            21. 000.                                            21. 000.
 23 Additional paid-in capital. ...................
 24 Retained earnings ..........................                                             -5.923.
                                                                                                                        ..                        14.189.
 25 Adjustments to shareholders' equity (att stmt) .........
                                                                                                         ... .
 26 Less cost of treasury stock..................
 27 Total liabilities and shareholders' equity......                        '.
                                                                                                            .~
                                                                                                                 . ..
                                                                                          1.205. 078.                                         1. 225.190.
                                                                     SPSA0134L 06/27/13                                                    Form 11205 (2013)
      Case 1-17-46613-nhl              Doc 34-4        Filed 02/28/18        Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------x
In the Matter of the Estate of:                                                 File No.: 2014-46

         JACOB ELBERG                                                           NOTICE OF CLAIM

         a/k/a YAA.KOY ELBERG

                                     Deceased.
-------------------------------------------------------------------------x

To: TAMARA PEWZNER and REUBEN ELBERG, Executors of the Estate of JACOB
ELBERG, deceased.

        Pursuant to §1803 of the New York Surrogate's Court Procedure Act, you are hereby
notified that there is due from the Estate of Jacob Elberg (the "Decedent") to Tamar Cab Corp.
("Tamar"), a loan or a series ofloans in an amount equal to One Million Three Hundred Eight
Thousand Four Dollars ($1,308,004.00) with interest thereon from December 31, 2015.

      The facts forming the basis of this claim are described in the annexed Affidavit in
Support of Claim dated as of the date hereof and which by reference is made a part hereof.


Dated: New York, New York
       March 29, 2016
                                                                TAMAR CAB CORP., Claimant


                                                                 -£ 5M th        U/k('/Zl;y·
                                                                By: ESMA ELBERG                C/
                                                                Title:




                                                                Attorney for Claimant
                                                                Piken & Piken
                                                                630 Third Avenue, 23rd Floor
                                                                New York, New York 10017
                                                                (212) 682-5522
       Case 1-17-46613-nhl               Doc 34-4      Filed 02/28/18         Entered 02/28/18 16:52:02




STATE OF NEW YORK
SURROGATE'S COURT: COUNTY OF KINGS
-------------------------------------------------------------------------}{
In the Matter of the Estate of:                                                  File No.: 2014-46

         JACOB ELBERG                                                            AFFIDAVIT IN SUPPORT
         a/k/a YAAKOV ELBERG

                                     Deceased.
-------------------------------------------------------------------------}{
STATE OF NEW YORK                    )

COUNTY OF
                       I
                        tlf          ~
         ESMA ELBERG, being duly sworn, deposes and says:

  1.     That I am the sole shareholder, officer and director of Tamar Cab Corp. (hereinafter

         referred to as "Tamar") and I reside in Brooklyn, New York.

  2.     The anne:xed claim against the Estate of Jacob Elberg, deceased (hereinafter referred to as

         "decedent"), is just and true and the decedent's debt is currently due.

  3.     Anne:xed hereto is a copy of Schedule L of the 2015 Corporate Ta:x Return, where at Line

         15, it states a balance due at year-end of One Million Three Hundred Eight Thousand

         Four Dollars ($1,308,004.00).

  4.     Also attached is a copy of Schedule L of the 2013 Corporate Tax Return, where at Line

         15, it states a balance due at year-end of One Million Two Hundred Forty Three

        Thousand Twenty Seven Dollars ($1,243,027.00). This return was electronically signed

        by the decedent.

 5.     Claimant acted upon decedent's reliance of decedent's promise to repay.

 6.     I know of no offset to said claim.
     Case 1-17-46613-nhl        Doc 34-4     Filed 02/28/18   Entered 02/28/18 16:52:02




7.    No part of said claim has been paid and the full amount thereof in the sum of

      $1,308,004.00 is now actually due, together with interest thereon from December 31,

      2015 at the statutory rate.

8.    Claimant owes no security from the decedent or the decedent's Estate.




      Swoqifl#.mPd~ Q

      1'~~~'-
          ff'
      N'otary Public
      j.
                        ROBERT W. PIKEN
                NOTARY PUBLIC, State of New York
                         No. XX-XXXXXXX
                  Qualified in New York County ]'~
              Commission Expires March 30, 20 ~




                                                2
                 Case 1-17-46613-nhl                        Doc 34-4               Filed 02/28/18                         Entered 02/28/18 16:52:02


Form 1120s (2015)         TAMAR CAB CORP                        XX-XXXXXXX                                                                                                            Page 4
ISchedule K I Shareholders'                  Pro Rata Share Items (continued)                                                                                          Total amount
Other         17a Investment income................................................................... ·.·······                                                17a             21. 197.
In for-         b Investment expenses .........................................................................                                                 17b
mation
                c Dividend distributions paid from accumulated earnings and profits ...............................                                             17c
                d Other items and amounts
                                                                                                                                                                                                 '
                  (attach statement)
Re con- 18 Income/loss reconciliation. Combine the amounts on lines l through l 0 in the far right column.
cilia ti onFrom the result, subtract the sum of the amounts on lines 11 through 12d and 141, ............... 18                                                                     7,682.
!Schedule L IBalance Sheets per Books                        Beginning of tax year                             End of tax year
                 Assets                                   (a)                       (b)                    (c)                                                                (d)
  1 Cash ......................................                                                                        5 .121.                                                  23.369.
  2 a Trade notes and accounts receivable ........
    b Less allowance for bad debts ...............
  3 Inventories ................................
 4 U.S. government obllgations................
 5 Tax-exempt securities (see Instructions)... , .
                                                                      ;

                                                                                       '·
                                                                                                                                                       ......
 6 Other current assets (attach stmt) .................                                                                                           I
                                                                                                                                                      '•
 7 Loans to shareholders......................                                                                 l,   059, 837.                 '                            1. 081. 034.
 8 Mortgage and real estate loans .............
 9 Other investments (attach statement) ...............
10 a Buildings and other depreciable assets ......                             48.000.                                               48.000.
   b Less accumulated depreciation .............                               48,000.                                               48.000.
11 a Depletable assets..........................
   b Less accumulated depletion ................
12 Land (net of any amortization) ..............
13a Intangible assets (amortizable only) .........                                                                                                                                           i
                                                                                                                                                                                           :

   b Less accumulated amortization .............
14 Other assets (attach stmt) ..... S.e~. St.. 2.                                                            203,601.                                                        203,601.
15 Total assets ...............................                                                            1.268,559.                                                     1. 308. 004.
       Liabilities and Shareholders' Equity                                                        .   -   :
16 Accounts payable ..........................
17 Mortgages, notes, bonds payable in less than 1year ....
18 Other current liabilities (attach stmt) ...............
                                                                .•        :
19 Loans from shareholders ...................
                                                                ..
20 Mortgages, notes, bonds payable in 1 year or more .....
                                                                          '·
                                                                                            ....           l,       210, 000.        ..                          ...      1. 241. 763 ..
21   Other liabilities (attach statement) .................                            >·                                                         .   ..
                                                                                                                                      .
                                                                                                                                          ,
                                                                                                                                              '          ..
22   Capital stock ..............................                                                                    14,850.                          ..
                                                                     ,.
                                                                                                                                                                              14,850 .
23   Additional paid-in capital ...................                                                                                  '.

24   Retained earnings .........................                                                                     43,709.                                                  SL 391.
25   Adjustments to shareholders' equity (att strnt} ........
26 Less cost of treasury stock .................                                                                                 :
27 Total liabilities and shareholders' equity .....                                                        l,   268. 559.                                                 1. 308. 004.
                                                                               SPSA0134L 08/13/15                                                                      Form 11205 (2015)
                        Case 1-17-46613-nhl                     Doc 34-4      Filed 02/28/18          Entered 02/28/18 16:52:02

   ·,_,({;;~ 1120s (2013)
l·~·
                                TAMAR CAB CORP                    XX-XXXXXXX                                                                                      Page 4
       ISchedule K I Shareholders' Pro Rata Share Items (continued)                                                                                Total amount
       Other       17 a Investment income ........................ :-..................................................                      17a            20,374.
       In for·        b Investment expenses .........................................................................                        17b
       mation
                      c Dividend distributions paid from accumulated earnings and profits ...............................                    17c
                     d Other items and amounts
                        (attach statement)
       Recon-  18 Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
       ciliation  From the result, subtract the sum of the amounts on lines 11 through l 2d and lines 141. .......... 18                                    20,487.
       !Schedule L IBalance Sheets per Books                        Beginning of tax year                            End of tax year
                        Assets                                   (a)                       (b)                   (c)                                       (d)
        1 Cash ......................................                                                  258.                                                       371.
        2 a Trade notes and accounts receivable ........
          b Less allowance for bad debts................
        3 Inventories .................................                                                                                  -
        4 U.S. government obligations ................
                                                                                                               :·. ' ·   .•
        5 Tax-exempt securities (see instructions) .....
        6 Other current assets (attach stmt) ..................
        7 Loans to shareholders ......................                                          1. 018. 682.                                          1.039,056.
        8 Mortgage and real estate loans ..............                                                                                . .

        9 Other investments (attach statement) ................
       10 a Buildings and other depreciable assets.......                  48,000.                                            48.000.
          b Less accumulated depreciation ..............                   48,000.                                            48,000.
       11 a Oepletable assets ..........................
          b Less accumulated depletion .................
       12 Land (net of any amortization)...............
       13a Intangible assets (amortizable only} .........
          b Less accumulated amortization ..............
       14 Other assets (attach stmt)......S~.e ..St.. 2..                                         203. 601.                                                203.600.
       15 Total assets ................................                                         L 222. 541.                                           l,   243. 027.
              Liabilities and Shareholders' Equity
                                                                                                                                   :
       16 Accounts payable...........................
       17 Mortgages, notes, bonds payable in less than 1 year .....
       18 other current liabilities (attach stmt) ................
       19 Loans from shareholders ....................
       20 Mortgages, notes, bonds payable in l year or. more ......                             1.210.000.                                            1,210.000.
       21 Other liabilities (attach statement) .... Se~. St .. 3..                                      1.
       22 Capital stock ...............................                                            14,850.                                                  14,850.
                                                                                                                                                                ,_
       23 Additional paid-in capital. ...................
       24 Retained earnings ..........................                                             -2.310.                                                  18 .177.
       25 Adjustments to shareholders' equity (att stmt) .........                                                            .'

       26 Less cost of treasury stock ..................
       27 Total liabilities and shareholders' equity ......                                     L 222. 541.                                           l, 243. 027.
                                                                           SPSA0134L 06/27/13                                                      Form 11205 (2013)
         Case 1-17-46613-nhl             Doc 34-4   Filed 02/28/18   Entered 02/28/18 16:52:02



                                           AFFIDAVIT OF SERVICE
   STATEOFNEWYORK    )
                     ) ss.:
   COUNTY OF NEW YORK)

           Esther Yazdan, being duly sworn, deposes and says:

        I am not a party to the within action, am over 18 years of age and reside in Great Neck,
   New York.

          On March 29, 2016, I served a true copy of a NOTICE OF CLAIM by depositing a true
   copy of same in a properly addressed, postage paid envelope to the last known address of the
   addressees as indicated below:


  Tamar Pewzner
  23 Waverly Place
  Lawrence, NY 115 59

  Reuben Elberg
  1523 President Street
  Brooklyn, NY 11213

  Charles D. Liebman, Esq.
  Johnson Liebman, LLP
  305 Broadway, Suite 801
  New York, New York 10007

  Levi Huebner
  Levi Huebner & Associates, P. C.
  535 Dean Street, Suite 100
  Brooklyn, NY 11217



                                                          Esther Yazdan




           ROBERT W. PIKEN
  NOTARY PUBLICJ State of New York
            No. XX-XXXXXXX
     Qualified in New York Countyr ( D
Commission Expires March 30 20 _JQ_
                           1
